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            UNITED STATES COURT OF FEDERAL CLAIMS

                                      IN

                LARRY GOLDEN v. THE UNITED STATES

                    CASE NUMBER: 1:23-cv-00811-EGB

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                         Consolidated Claim Charts



[Pg.02] Exhibit A: Duplicate of Claim Chart submitted in Golden v. Google LLC

[Pg.12] Exhibit B: DoD DTRA ATAK Multi-Sensor Detection System—CBRN

[Pg.17] Exhibit C: Google, Apple, Samsung, LG, & Qualcomm Comparison

[Pg.31] Exhibit D: Google Pixel 5 and Apple iPhone 12 Comparison

[Pg.43] Exhibit E: Google Pixel 5 and Samsung Galaxy S21 Comparison

[Pg.52] Exhibit F: Google Pixel 5 and LG V60 ThinQ 5G Comparison

[Pg.61] Exhibit G: Google Pixel 5 and Asus-Qualcomm Comparison

[Pg.70] Exhibit H: Samsung Galaxy Book2 Pro 360 PC / Tablet

[Pg.77] Exhibit I: Hewlett Packard (HP) ZBook Fury G8 Mobile Workstation PC




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                    Exhibit A




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             DUPLICATE OF THE CLAIM CHART SUBMITTED IN
                       GOLDEN v. GOOGLE, LLC

        The Federal Circuit on 09/08/2022, in Larry Golden v. Google LLC; Case No. 22-1267
— “VACATED AND REMANDED” the relevant Case No: 22-1267 Document 15; back to the
District Court “to be filed and request service of process”.
        The Federal Circuit determined the complaint, “includes a detailed claim chart mapping
features of an accused product, the Google Pixel 5 Smartphone, to independent claims from U.S.
Patent Nos. 10,163,287, 9,589,439, and 9,069,189” … “in a relatively straightforward manner”
… and that the [Circuit] “express no opinion as to the adequacy of the complaint or claim chart
except that it is not facially frivolous.”


        Three-Judge Panel: “DISCUSSION. ‘Under the pleading standards set forth in Bell
        Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662
        (2009), a court must dismiss a complaint if it fails to allege “enough facts to state a claim
        to relief that is plausible on its face.” Twombly, 550 U.S. at 570 … [T]his standard
        “requires more than labels and conclusions, and a formulaic recitation of the elements of
        a cause of action will not do.” Id. at 555 (citation omitted). A plaintiff must allege facts
        that give rise to “more than a sheer possibility that a defendant has acted unlawfully.”
        Iqbal, 556 U.S. at 678 (citation omitted) … this court has explained that a plaintiff …
        must plead “‘enough fact[s] to raise a reasonable expectation that discovery will reveal’
        that the defendant is liable for the misconduct alleged.”

        “Mr. Golden’s complaint includes a detailed claim chart mapping features of an accused
        product, the Google Pixel 5 Smartphone, to independent claims from U.S. Patent Nos.
        10,163,287, 9,589,439, and 9,069,189 … It [claim chart] attempts [] to map claim
        limitations to infringing product features, and it does so in a relatively straightforward
        manner …[W]e conclude that the district court’s decision in the Google case is not
        correct with respect to at least the three claims mapped out in the claim chart. Mr. Golden
        has made efforts to identify exactly how the accused products meet the limitations of his
        claims in this chart.…”



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                      CLAIM CHART FOR GOOGLE PRODUCTS

       The following Claim Chart is an illustration of literal infringement. At least one of the

alleged infringing products of Google (i.e., Google Pixel smartphones 4a, 4a(5G), 5, 6, 6a, 7, &

7a) are representative of all the alleged infringing products of Google asserted in this complaint.

At least one of the alleged infringing products of Google (Google Pixel 5) is illustrated to show

how the Google Pixel 5 allegedly infringes on at least one of the asserted independent claims of

each of the patents-in-suit (‘287, ‘439, and ‘189 patents).



     Google Pixel 5         Patent #: 10,163,287;         Patent #: 9,589,439;         Patent #: 9,096,189;
      Smartphone            Independent Claim 5          Independent Claim 23         Independent Claim 1


                                                                                     A communication device
                                                                                      of at least one of a cell
                                                                                     phone, a smart phone, a
                                                                                      desktop, a handheld, a
                                                                                       PDA, a laptop, or a
                            A monitoring device,         A cell phone comprising:     computer terminal for
                               comprising:                                             monitoring products,
                                                                                        interconnected to a
                                                                                             product for
                                                                                          communication
                                                                                           therebetween,
                                                                                            comprising:



                                                                                       at least one of a central
                                                                                     processing unit (CPU) for
                                                                                       executing and carrying
 CPU: Octa-core (1 × 2.4                                                              out the instructions of a
                                                         a central processing unit
 GHz Kryo 475 Prime & 1                                                                 computer program, a
                                                         (CPU) for executing and
   × 2.2 GHz Kryo 475         at least one central                                   network processor which
                                                             carrying out the
   Gold & 6 × 1.8 GHz       processing unit (CPU);                                   is specifically targeted at
                                                             instructions of a
 Kryo 475 Silver) System-                                                                   the networking
                                                            computer program;
  on-a-chip: Qualcomm                                                                 application domain, or a
    Snapdragon 765G                                                                    front-end processor for
                                                                                      communication between
                                                                                     a host computer and other
                                                                                                devices;




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  Ambient Temperature
 sensor supported by the
    Android platform.          at least one temperature
  Measures the ambient        sensor in communication
   room temperature in        with the at least one CPU                    X                            X
  degrees Celsius (°C).             for monitoring
      Monitoring air                 temperature;
temperatures. Monitoring
     air temperatures.




Gravity sensor supported
by the Android platform.
  Measures the force of       at least one motion sensor
  gravity in m/s2 that is      in communication with
                                                                           X                            X
applied to a device on all       the at least one CPU;
three physical axes (x, y,
   z). Motion detection
     (shake, tilt, etc.).



Light sensor supported by
   the Android platform.
   Measures the ambient         at least one viewing
 light level (illumination)   screen for monitoring in
                                                                           X                            X
 in lx. Controlling screen    communication with the
brightness. Screen: 6-inch       at least one CPU;
flexible OLED display at
          432 ppi




                                                               at least one of a satellite
                                                                                               at least one satellite
                                                                connection, Bluetooth
                                                                                             connection, Bluetooth
                                                                   connection, WiFi
                                                                                                connection, WiFi
                                                                  connection, internet
                                                                                              connection, internet
    Connectivity: Wi-                                              connection, radio
                                 at least one global                                            connection, radio
Fi 5 (a/b/g/n/ac) 2.4 + 5.0                                         frequency (RF)
                              positioning system (GPS)                                            frequency (RF)
GHz, Bluetooth 5.0 + LE,                                          connection, cellular
                                    connection in                                              connection, cellular
NFC, GPS (GLONASS,                                              connection, broadband
                               communication with the                                        connection, broadband
 Galileo, BeiDou), eSIM                                         connection, long range
                                  at least one CPU;                                           connection, long and
          capable                                                radio frequency (RF)
                                                                                                short-range radio
                                                               connection, short range
                                                                                                  frequency (RF)
                                                                 radio frequency (RF)
                                                                                               connection, or GPS
                                                                  connection, or GPS
                                                                                                    connection;
                                                                      connection;




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                                                                                            wherein the only type or
                                                            wherein at least one of…
                                                                                            types of communication
                                                            WiFi connection, internet
    Connectivity: Wi-                                                                       with the transmitter and
                              at least one of an internet       connection, radio
Fi 5 (a/b/g/n/ac) 2.4 + 5.0                                                                     the receiver of the
                                connection or a Wi-Fi            frequency (RF)
GHz, Bluetooth 5.0 + LE,                                                                     communication device
                                     connection in             connection, cellular
NFC, GPS (GLONASS,                                                                           and transceivers of the
                              communication with the        connection… capable of
 Galileo, BeiDou), eSIM                                                                        products is a type or
                                   at least one CPU;         signal communication
          capable                                                                            types selected from the
                                                            with the transmitter or the
                                                                                               group… of satellite,
                                                                     receiver;
                                                                                                Bluetooth, WiFi…



                                                                    at least one of a…
    Connectivity: Wi-              at least one of a             Bluetooth connection,
Fi 5 (a/b/g/n/ac) 2.4 + 5.0   Bluetooth connection, a           WiFi connection, internet
GHz, Bluetooth 5.0 + LE,      cellular connection, or a           connection… cellular
                                                                                                       X
NFC, GPS (GLONASS,             satellite connection in          connection… short range
 Galileo, BeiDou), eSIM       communication with the              radio frequency (RF)
          capable                 at least one CPU;                connection, or GPS
                                                                        connection;




      Google's Android
operating system features
   a lock mechanism to
     secure your phone,           at least one locking
known as pattern lock. To             mechanism in
                                                            whereupon the cell phone
   set, drag your finger       communication with the
                                                             is interconnected to the
along lines on the screen.        at least one CPU for
                                                               cell phone detection
   To unlock the phone,                 locking the
                                                            device to receive signals
    replicate the pattern       communication device,
                                                            or send signals to lock or
drawn. If you fail to solve     the at least one locking
                                                            unlock doors, to activate
   the pattern too many       mechanism configured to
                                                              or deactivate security                   X
  times, the phone locks         at least one of engage
                                                              systems, to activate or
 and cannot be unlocked       (lock) the communication
                                                             deactivate multi-sensor
 without logging into the          device, disengage
                                                             detection systems, or to
     associated Google                 (unlock) the
                                                            activate or deactivate the
          account.            communication device, or
                                                               cell phone detection
                                      disable (make
                                                                      device;
Google Nest × Yale Lock             unavailable) the
 is connected to the Nest       communication device;
   app; you can lock or
  unlock your door from
       your phone.




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Pixel phones use USB-C         at least one power source
       with USB                comprising at least one of
 2.0 power adapters and            a battery, electrical
 cables. To charge your         connection, or wireless                      X                             X
   phone with a USB-            connection, to provide
 A power adapter, use a               power to the
USB-C to USB-A cable.           communication device;




                                                                                                         wherein the
                                                                                               communication device is
                                                                                                       equipped with a
                                                                                                 biometric lock disabler
                                                            wherein the cell phone is
                                                                                                that incorporates at least
      BIOMETRICS:                                                   equipped with a
                                                                                                    one of a fingerprint
 Biometric factors allow                                      biometric lock disabler
                                                                                                     recognition, voice
for secure authentication        at least one biometric      that incorporates at least
                                                                                                      recognition, face
on the Android platform.       sensor in communication           one of a fingerprint
                                                                                                     recognition, hand
The Android framework            with the at least once           recognition, voice
                                                                                               geometry, retina scan, iris
     includes face and            CPU for providing                recognition, face
                                                                                                 scan and signature such
   fingerprint biometric       biometric authentication           recognition, hand
                                                                                                 that the communication
 authentication. Android              to access the         geometry, retina scan, iris
                                                                                               device that is at least one
   can be customized to         communication device;          scan, or signature such
                                                                                                  of the cell phone, the
  support other forms of                                        that the cell phone is
                                                                                               smart phone, the desktop,
biometric authentication                                      locked by the biometric
                                                                                                 the handheld, the PDA,
       (such as Iris).                                        lock disabler to prevent
                                                                                                      the laptop or the
                                                               unauthorized use; and
                                                                                                   computer terminal is
                                                                                                 locked by the biometric
                                                                                                 lock disabler to prevent
                                                                                                      unauthorized use




Android Team Awareness
 Kit, ATAK (built on the
    Android operating
                                                                                                  the communication
system) provides a single
                                                                the cell phone is at least a    device is at least a fixed,
interface for viewing and
                                                                 fixed, portable or mobile         portable or mobile
   controlling different        at least one sensor for
                                                                  communication device           communication device
      CBRN-sensing             chemical, biological, or
                                                                interconnected to the cell     interconnected to a fixed,
  technologies, whether          human detection in
                                                                  phone detection device,          portable or mobile
    that is a wearable         communication with the
                                                                    capable of wired or        product, capable of wired
smartwatch that measures           at least one CPU;
                                                                 wireless communication                or wireless
a warfighter’s vitals (e.g.,
                                                                    therebetween; and               communication
  heart rate) or a device
                                                                                                    therebetween…
  mounted on a drone to
 detect chemical warfare
          agents.




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Android Team Awareness
 Kit, ATAK (built on the
    Android operating
   system) is a digital
 application available to
                                                            at least one of a chemical
 warfighters throughout        one or more detectors in                                           wherein the
                                                                sensor, a biological
 the DoD. ATAK offers          communication with the                                       communication device
                                                               sensor, an explosive
  warfighters geospatial         at least one CPU for                                      receives a signal via any
                                                            sensor, a human sensor, a
 mapping for situational       detecting at least one of                                   of one or more products
                                                             contraband sensor, or a
awareness during combat         chemical, biological,                                         listed in any of the
                                                                radiological sensor
— on an end-user device       radiological, or explosive                                      plurality of product
                                                            capable of being disposed
such as a smartphone or a               agents;                                              grouping categories;
                                                                within, on, upon or
  tablet. With DTRA’s
                                                             adjacent the cell phone;
contribution, ATAK now
    includes chemical,
 biological, radiological,
  and nuclear (CBRN)
         plug-ins.


    Connectivity: Wi-             at least one radio-
Fi 5 (a/b/g/n/ac) 2.4 + 5.0     frequency near-field
GHz, Bluetooth 5.0 + LE,       communication (NFC)
                                                                           X
NFC, GPS (GLONASS,                   connection in                                                     X
 Galileo, BeiDou), eSIM       communication with the
          capable                at least one CPU…


                                    at least one of a                                            a transmitter for
                                    transmitter or a                                        transmitting signals and
                                     transceiver in                                         messages to at least one
                               communication with the                                          of plurality product
Google Nest × Yale Lock
                                   at least one CPU                                            groups based on the
 is connected to the Nest
                                  configured to send                                          categories of a multi-
   app; you can lock or
                              signals to monitor at least                                  sensor detection device, a
  unlock your door from
                               one of a door, a vehicle,                                   maritime cargo container,
       your phone.                                                   a transmitter for
                                  or a building, send                                        a cell phone detection
                                                                transmitting signals and
                               signals to lock or unlock                                       device, or a locking
Android Team Awareness                                          messages to a cell phone
                                 doors, send signals to                                               device;
 Kit, ATAK (built on the                                            detection device; a
                               control components of a
    Android operating                                             receiver for receiving
                                vehicle, send signals to                                    a receiver for receiving
system) provides a single                                          signals from the cell
                               control components of a                                     signals, data or messages
interface for viewing and                                       phone detection device;
                                building, or… detect at                                        from at least one of
   controlling different
                                least one of a chemical                                     plurality product groups
      CBRN-sensing
                               biological… agent such                                      based on the categories of
       technologies
                               that the communication                                       a multi-sensor detection
                                  device is capable of                                     device, a maritime cargo
                                   communicating,                                            container, a cell phone
                                 monitoring, detecting,                                       detection device, or a
                                    and controlling.                                             locking device;




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Google Nest × Yale Lock
 is connected to the Nest                                                    whereupon the
   app; you can lock or                                               communication device, is
  unlock your door from                                                   interconnected to a
       your phone.                                                        product equipped to
                                                                        receive signals from or
Android Team Awareness                                                  send signals to lock or
 Kit, ATAK (built on the     X                        X               unlock doors, activate or
    Android operating                                                      deactivate security
system) provides a single                                                 systems, activate or
interface for viewing and                                              deactivate multi-sensor
   controlling different                                               detection systems, or to
      CBRN-sensing                                                    activate or deactivate cell
       technologies                                                    phone detection systems




Android Team Awareness
                                                                          wherein at least one
 Kit, ATAK (built on the
                                                                          satellite connection,
    Android operating
                                                                        Bluetooth connection,
   system) is a digital
                                                                      WiFi connection, internet
 application available to
                                                                            connection, radio
 warfighters throughout
                                                a transmitter for            frequency (RF)
 the DoD. ATAK offers
                                           transmitting signals and       connection, cellular
  warfighters geospatial
                                           messages to a cell phone     connection, broadband
 mapping for situational
                             X                 detection device; a    connection… short range
awareness during combat
                                             receiver for receiving      radio frequency (RF)
— on an end-user device
                                              signals from the cell    connection is capable of
such as a smartphone or a
                                           phone detection device;      signal communication
  tablet. With DTRA’s
                                                                       with the transmitter and
contribution, ATAK now
                                                                           the receiver of the
    includes chemical,
                                                                        communication device
 biological, radiological,
                                                                        and transceivers of the
  and nuclear (CBRN)
                                                                                products;
         plug-ins.




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Android Team Awareness
 Kit, ATAK (built on the
                                        whereupon a signal sent
    Android operating
                                       to the receiver of the cell
   system) is a digital
                                        phone detection device
 application available to
                                        from at least one of the
 warfighters throughout
                                          chemical sensor, the
 the DoD. ATAK offers
                                         biological sensor, the
  warfighters geospatial
                                         explosive sensor, the
 mapping for situational
                             X             human sensor, the         X
awareness during combat
                                       contraband sensor, or the
— on an end-user device
                                          radiological sensor,
such as a smartphone or a
                                          causes a signal that
  tablet. With DTRA’s
                                        includes at least one of
contribution, ATAK now
                                        location data or sensor
    includes chemical,
                                       data to be sent to the cell
 biological, radiological,
                                                 phone.
  and nuclear (CBRN)
         plug-ins.




            DoD DTRA ATAK Smartphone Port for CBRN Plug-Ins




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Google Android and Apple iOS are “Native” to the OEMs (i.e., Google,
Samsung, LG, Qualcomm, and Apple) manufacture of the smartphones.

         Blueforce Plugin Series: CBRNE and HAZMAT Response
         The DuraForce Ultra 5G                            The ALTAIR 5X Gas Detector
(CBRN purpose-built plugins for smartphones)              (Google Android and Apple iOS)




  The MSA Altair 4XR Multi-Gas Detector             The Thermo RadEye™ PRD Radiation Detector
     (Google Android and Apple iOS)                           (Google Android only)




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                    Exhibit B




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             DoD DTRA ATAK Multi-Sensor Detection System—CBRN
  DoD/DTRA ATAK CBRN
                                              Patent #: 9,589,439;                    Patent #: 9,096,189;
 Sensors for the Google Pixel 5
                                             Independent Claim 19                    Independent Claim 7
          Smartphone




                                         A multi-sensor detection system        A multi-sensor detection system
                                            for detecting at least one             for detecting at least one
                                         explosive, nuclear, contraband,        explosive, nuclear, contraband,
                                          chemical, biological, human,          chemical, biological, human, or
                                        radiological agent, or compound,            radiological agents and
                                                   comprising:                     compounds, comprising:
 With DTRA … ATAK includes
chemical, biological, radiological,
  and nuclear (CBRN) plug-ins.


  Android Team Awareness Kit,
  ATAK (built on the Android
operating system) With DTRA …
    ATAK includes chemical,
   biological, radiological, and
                                        a plurality of sensors for detecting   a plurality of sensors for detecting
    nuclear (CBRN) plug-ins.
                                         at least one chemical, biological,     at least one chemical, biological,
                                         radiological, explosive, nuclear,      radiological, explosive, nuclear,
  The Defense Threat Reduction
                                          human, or contraband agent or         human or contraband agents and
   Agency (DTRA) CBRN ISA:
                                            compound, capable of being          compounds and capable of being
Seamlessly integrates information
                                            disposed within, on, upon or           disposed within, on, upon or
  and control of multiple sensors
                                         adjacent a multi-sensor detection      adjacent a multi sensor detection
into a single dashboard, making it
                                                       device;                                device;
easier to detect CBRN threats and
   monitor a warfighter’s vitals
         https://thelastmile.
gotennapro.com/four-useful-atak-
            app-plugins/

   ATAK (including CivTAK) is
    an Android smartphone [i.e.,
  Google smartphone] geospatial
    infrastructure and situational
awareness app https://www.civtak.       monitoring equipment comprising        monitoring equipment comprising
   org/atak-about/. ATAK can be             at least one of a computer,          at least one of plurality product
 downloaded to a phone, tablet, or       personal computer (PC), laptop,       groups based on the categories of
    handheld device. ATAK is a             notebook PC, handheld, cell         a computer, laptop, notebook, PC,
   government-off-the-shelf app          phone, personal digital assistant        handheld, cell phone, PDA or
   for Android smartphones. The         (PDA) or smart phone for at least        smart phone for the receipt and
     mobile broadband 4G LTE            one of a receipt or transmission of           transmission of signals
 connection is able to facilitate the          signals therebetween;                       therebetween;
  data throughput required for the
      operation of the ATAK.
        https://apps. dtic.mil/
      sti/pdfs/AD1069441.pdf



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  The Google phone connects to a
cell tower or base station via radio
  waves, and that tower is usually
     physically connected to the
   infrastructure to send that data
  wherever it needs to go. Draper
                                          at least one cell phone tower             at least one cell phone tower
  designed a chemical, biological,
                                       interconnected to the monitoring          interconnected to the monitoring
 radiological and nuclear (CBRN)
                                         equipment for sending signals             equipment for sending signals
Plugin to enable users to integrate
                                          thereto and receiving signals             thereto and receiving signals
 CBRN sensors into TAK, collect
                                       therefrom or at least one satellite       therefrom or at least one satellite
CBRN sensor data, display it on a
                                       capable of transmitting signals to        capable of transmitting signals to
  map and livestream it across the
                                           the monitoring equipment;                 the monitoring equipment;
    TAK network to other users.
     CBRN plugins for ATAK,
    WinTAK and WebTAK are
       operational in the field.
        https://www.draper.
     com/explore-solutions/tak


   The Android-based [Google]
  smartphone[s] now contained
 integrated satellite on-the move
capability, on-the-move mapping
solutions, and a commercial laser
  range finder that significantly
expanded the end-user range data       at least one satellite or at least one   at least one satellite or at least one
    flow and functionality. The        cell phone tower capable of signal       cell phone tower capable of signal
Primary, Alternate, Contingency,       communication between the multi-         communication between the multi
      and Emergency (PACE)               sensor detection device and the        sensor detection device and the
  communications architectures               monitoring equipment;              monitoring equipment;
     established was: • Primary
  communications structure (P):
   ATAK—4G/LTE; Antenna:
       international [] satellite
    (INMARSAT) https://apps.
dtic.mil/sti/pdfs/AD1069441.pdf




 The internet connection is shared
 by many ATAK functions on the
  Google Pixel 5 smartphone such         at least one internet connection        at least one internet connection
  as internet browsing, receiving           capable of communication                capable of communication
   email messages and installing       between the multi-sensor detection       between the multi sensor detection
    apps. Wi-Fi is a method for             device and the monitoring               device and the monitoring
devices such as the Google Pixel 5                  equipment;                              equipment;
 smartphone to connect wirelessly
 to the Internet using radio waves.




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Sit(x) is a commercial Server-as-a-
Service solution based on the TAK
     platform developed by PAR
 Government for the U.S. Defense
 & Intelligence Community. Sit(x)
                                           whereupon a signal sent to a
 has real-time communication and                                                 whereupon a signal sent to a
                                            receiver of the multi-sensor
 information sharing. With Sit(x),                                               receiver of the multi sensor
                                        detection device from a satellite;
      individuals and teams can                                                detection device from a satellite;
                                            or to a cell phone tower; or
      communicate via personal                                                    or to a cell phone tower; or
                                          through at least one of a short-
  computers and handheld mobile                                                through short and/or long-range
                                        range radio frequency or a long-
 [Google smartphone] devices by                                               radio frequency; causes a signal to
                                         range radio frequency; causes a
voice or text. They can share real-                                                be sent to the monitoring
                                       signal to be sent to the monitoring
  time full-motion video (FMV),                                                equipment that includes location
                                         equipment that includes at least
    airborne/drone imagery, GPS                                                       data and sensor data;
                                       one of location data or sensor data;
   locations, photos, and satellite
      imagery. Fully secure and
compatible with ATAK, WinTAK,
and iTAK. Sit(x) accessed via free
    downloadable gateway apps.


  The ‘439 & ‘189 patent specs:
Product grouping (PG) 1 (storage
                                                                              wherein the monitoring equipment
& transportation); PG 2 (sensors);     wherein the monitoring equipment
                                                                               or multi sensor detection device
PG 3 (detector case; modified and       or multi-sensor detection device
                                                                              receives a signal via any of one or
  adapted); PG 4 (monitoring &         receives a signal via any of one or
                                                                              more products listed in any of the
  communication devices); PG 5           more products of any product
                                                                                 plurality of product grouping
 (communication methods); PG 6                grouping categories;
                                                                                           categories;
     (biometrics); and, PG 7
       (authorized person)


  The Android-based [Google]
  smartphone[s] now contained
     integrated satellite …
                                        wherein at least one of a satellite
Wi-Fi is a method for devices such                                                wherein at least one satellite
                                       connection, Bluetooth connection,
as the Google Pixel 5 smartphone                                              connection, Bluetooth connection,
                                             WiFi connection, internet
    to connect wirelessly to the                                                    WiFi connection, internet
                                       connection, radio frequency (RF)
  Internet using radio waves…                                                 connection, radio frequency (RF)
                                         connection, cellular connection,
                                                                                connection, cellular connection,
                                       broadband connection, long range
The internet connection is shared                                               broadband connection, long and
                                          radio frequency connection, or
by many ATAK functions on the                                                  short-range radio frequency (RF)
                                        short-range radio frequency (RF)
 Google Pixel 5 smartphone such                                                 connection is capable of signal
                                         connection is capable of signal
 as internet browsing, receiving                                                    communication with the
                                             communication with the
email messages; installing apps…                                              transmitter and the receiver of the
                                           transmitter, a receiver of the
                                                                                monitoring equipment or multi
                                       monitoring equipment, the multi-
 The Google phone connects to a                                                   sensor detection device and
                                            sensor detection device, or
cell tower or base station via radio                                              transceivers of the products;
                                           transceivers of the products;
 waves, and that tower is usually
    physically connected to the
  infrastructure to send that data
      wherever it needs to go.




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BIOMETRICS: Biometric factors
allow for secure authentication on
    the Android platform. The          wherein the monitoring equipment       wherein the monitoring equipment
Android framework includes face         is equipped with a biometric lock      is equipped with a biometric lock
     and fingerprint biometric          disabler that incorporates at least    disabler that incorporates at least
  authentication. Android can be         one of a fingerprint recognition,      one of a fingerprint recognition,
customized to support other forms             voice recognition, face                voice recognition, face
 of biometric authentication (such     recognition, hand geometry, retina     recognition, hand geometry, retina
              as Iris).                  scan, iris scan or signature such     scan, iris scan and signature such
                                        that the monitoring device that is     that the monitoring device that is
  ATAK (including CivTAK) is             at least one of the computer, the      at least one of the computer, the
   an Android smartphone [i.e.,         laptop, the notebook, the PC, the      laptop, the notebook, the PC, the
  Google smartphone] geospatial        handheld, the cell phone, the PDA,     handheld, the cell phone, the PDA,
   infrastructure and situational      or the smart phone is locked by the    or the smart phone is locked by the
awareness app https://www.civtak.       biometric lock disabler to prevent     biometric lock disabler to prevent
  org/atak-about/. ATAK can be                   unauthorized use;                      unauthorized use;
 downloaded to a phone, tablet, or
         handheld device.




  The Android-based [Google]
  smartphone[s] now contained
     integrated satellite …

Wi-Fi is a method for devices such
as the Google Pixel 5 smartphone        wherein the only type or types of
                                                                               wherein the only type or types of
    to connect wirelessly to the             communication with the
                                                                                     communication with the
  Internet using radio waves…          transmitter and the receiver of the
                                                                              transmitter and the receiver of the
                                            communication device and
                                                                                    communication device and
The internet connection is shared        transceivers of the products is a
                                                                                transceivers of the products is a
by many ATAK functions on the             type or types selected from the
                                                                                 type or types selected from the
 Google Pixel 5 smartphone such            group consisting of satellite,
                                                                                  group consisting of satellite,
 as internet browsing, receiving         Bluetooth, WiFi, internet, radio
                                                                                Bluetooth, WiFi, internet, radio
email messages; installing apps…             frequency (RF), cellular,
                                                                                     frequency (RF), cellular,
                                           broadband, long range radio
                                                                                broadband, and long and short-
 The Google phone connects to a         frequency, and short-range radio
                                                                                   range radio frequency (RF).
cell tower or base station via radio              frequency (RF).
 waves, and that tower is usually
    physically connected to the
  infrastructure to send that data
      wherever it needs to go.




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                    Exhibit C




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         INCLUDED IN FEDERAL CIRCUIT INFORMAL BRIEF
                     IN GOLDEN v GOOGLE

❖ BIOMETRICS: Biometric factors allow for secure authentication on the Android
  platform. The Android framework includes face and fingerprint biometric authentication.
  Android can be customized to support other forms of biometric authentication (such as
  Iris).

❖ DISABLING LOCK MECHANISM: Google’s Android operating system features a
  lock mechanism to secure your phone, known as pattern lock. When setting the pattern,
  you must drag your finger along lines on the screen between different nodes. Afterward,
  to unlock the phone, you'll need to replicate the pattern drawn. If you fail to solve the
  pattern too many times, the phone locks and cannot be unlocked without logging into the
  associated Google account. If you can't log in, you’ll have to employ some other methods
  to restore control of your phone.

❖ CHEMICAL, BIOLOGICAL, RADIOLOGICAL, AND NUCLEAR (CBRN)
  DETECTION: Through collaboration and innovation, the Defense Threat Reduction
  Agency has integrated its powerful, hazard-awareness-and-response tools into the Android
  Tactical Assault Kit (or the Android Team Awareness Kit, ATAK). ATAK is a digital
  application available to warfighters throughout the DoD. Built on the Android operating
  system, ATAK offers warfighters geospatial mapping for situational awareness during
  combat — on an end-user device such as a smartphone or a tablet. With DTRA’s
  contribution, ATAK now includes chemical, biological, radiological, and nuclear (CBRN)
  plug-ins.

❖ HEART RATE: Android Team Awareness Kit, ATAK provides a single interface for
  viewing and controlling different CBRN-sensing technologies, whether that is a wearable
  smartwatch that measures a warfighter’s vitals (e.g., heart rate) or a device mounted on a
  drone to detect chemical warfare agents.

❖ NEAR FIELD COMMUNICATION (NFC): Pixel™, Phone by Google - Turn NFC
  on/off. Near Field Communication (NFC) allows the transfer of data between devices that
  are a few centimeters apart, typically back-to-back. NFC must be turned on for NFC-based
  apps (e.g., Tap to Pay) to function correctly. NFC is a set of short-range wireless
  technologies, typically requiring a distance of 4cm or less to initiate a connection. NFC
  allows you to share small payloads of data between an NFC tag and an Android-powered
  device, or between two Android-powered devices. Tags can range in complexity.

❖ WARFIGHTERS: The U.S. armed forces and their interagency and coalition partners
  value Android Team Awareness Kit, ATAK and the common operating picture it provides.
  DTRA continues to develop CBRN-specific plug-in capabilities to support warfighters on
  the battlefield.




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                                                                                             Asus / Qualcomm
  Google Pixel 5        Apple iPhone 12         Samsung Galaxy                                Smartphone for
                                                                      LG V60 ThinQ 5G
   Smartphone            Smartphone             S21 Smartphone                                 Snapdragon
                                                                                                 Insiders




      Chipset:                                       Chipset:
                                                                      Chipset: Qualcomm
     Qualcomm                                  Qualcomm SM8350
                                                                            SM8250                Chipset:
 Snapdragon 765G                               Snapdragon 888 5G
                       Chipset: Apple A14                             Snapdragon 865 5G      Qualcomm SM8350
 CPU: Octa-core (1                             (5 nm). CPU: Octa-
                          Bionic (5 nm).                                (7 nm+). CPU:        Snapdragon 888 5G
× 2.4 GHz Kryo 475                              core (1x2.84 GHz
                         CPU: Hexa-core                                Octa-core (1x2.84     (5 nm) CPU: Octa-
  Prime & 1 × 2.2                                  Cortex-X1 &
                           (2x3.1 GHz                                 GHz Cortex-A77 &        core (1x2.84 GHz
GHz Kryo 475 Gold                              3x2.42 GHz Cortex-
                        Firestorm + 4x1.8                             3x2.42 GHz Cortex-        Cortex-X1 &
   & 6 × 1.8 GHz                               A78 & 4x1.80 GHz
  Kryo 475 Silver)     GHz Icestorm). OS:                             A77 & 4x1.80 GHz       3x2.42 GHz Cortex-
                                                  Cortex-A55) -
    OS: Google               iOS 14.1,                                 Cortex-A55). OS:      A78 & 4x1.80 GHz
                                                 USA/China. OS:
    Android 11,         upgradable to iOS                             Google Android 10,      Cortex-A55). OS:
                                               Google Android 11,
                          16.1 Modem:                                    upgradable to       Google Android 11.
   upgradable to                                  upgradable to
                           Qualcomm’s                                     Android 13              Modem:
    Android 13.                                     Android 13
                         Snapdragon X55                                    Modem:             Snapdragon® X60
      Modem:                                         Modem:
                            5G modem                                     Qualcomm’s            5G Modem-RF
 Snapdragon® X52                                Snapdragon® X60
                                                                       Snapdragon X55              System.
  5G Modem-RF                                    5G Modem-RF
                                                                          5G modem
      System.                                        System.


                       Temperature sensors
      Ambient           located within; the          Ambient                Ambient                Ambient
Temperature sensor     sensors monitor the     Temperature sensor     Temperature sensor     Temperature sensor
  supported by the          battery and          supported by the       supported by the       supported by the
 Android platform.          processor's         Android platform.      Android platform.      Android platform.
    Measures the          temperature. In          Measures the           Measures the           Measures the
    ambient room              extreme              ambient room           ambient room           ambient room
   temperature in      temperatures (hot or       temperature in         temperature in         temperature in
   degrees Celsius      cold), these sensors      degrees Celsius        degrees Celsius        degrees Celsius
(°C). Monitoring air       shut down the       (°C). Monitoring air   (°C). Monitoring air   (°C). Monitoring air
    temperatures.        device to prevent         temperatures.          temperatures.          temperatures.
                              damage




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                           Accelerometer
                          (gravity sensor)
                          supported by the
   Gravity sensor                                  Gravity sensor          Gravity sensor          Gravity sensor
                           iOS platform.
 supported by the                                supported by the        supported by the        supported by the
                           Accelerometer/
 Android platform.                               Android platform.       Android platform.       Android platform.
                        Motion sensor: This
Measures the force                              Measures the force      Measures the force      Measures the force
                          sensor helps the
    of gravity in                                   of gravity in           of gravity in           of gravity in
                               screen
m/s2 that is applied                            m/s2 that is applied    m/s2 that is applied    m/s2 that is applied
                        automatically switch
 to a device on all                              to a device on all      to a device on all      to a device on all
                         from landscape to
three physical axes                             three physical axes     three physical axes     three physical axes
                         portrait modes and
  (x, y, z). Motion                               (x, y, z). Motion       (x, y, z). Motion       (x, y, z). Motion
                        back again based on
 detection (shake,                               detection (shake,       detection (shake,       detection (shake,
                           whether you’re
      tilt, etc.).                                    tilt, etc.).            tilt, etc.).            tilt, etc.).
                         holding the phone
                            vertically or
                            horizontally.


                         Adjusts the screen
     Light sensor           brightness for           Light sensor            Light sensor            Light sensor
  supported by the           current light        supported by the        supported by the        supported by the
 Android platform.      conditions using the     Android platform.       Android platform.       Android platform.
    Measures the               built-in             Measures the            Measures the            Measures the
 ambient light level        ambient light        ambient light level     ambient light level     ambient light level
(illumination) in lx.   sensor. Screen: 6.1”    (illumination) in lx.   (illumination) in lx.   (illumination) in lx.
 Controlling screen      Super Retina XDR        Controlling screen      Controlling screen      Controlling screen
brightness. Screen:      (OLED). Lock the       brightness. Screen:     brightness. Screen:     brightness. Screen:
   6-inch flexible      screen orientation so    6.2 inches flexible      6.8 inches, 109.8      6.78 inches, 109.5
  OLED display at           that it doesn’t       OLED display at       cm2 OLED display         cm2 OLED display
       432 ppi            change when the              421 ppi           at 395 ppi density      at 395 ppi density
                          iPhone is rotated.




                                                                        Connectivity: Wi-Fi
                                                                                                Connectivity: Wi-Fi
                                                                        802.11 a/b/g/n/ac/6,
                                                   Connectivity:                                 802.11 a/b/g/n/ac/
  Connectivity:            Connectivity:                                 dual-band, Wi-Fi
                                                   Wi-Fi 802.11                                 6e, dual-band, Wi-
        Wi-               Wi-Fi 5 802.11                                  Direct, DLNA.
                                                 a/b/g/n/ac/6, dual-                             Fi Dir. Bluetooth:
 Fi 5 (a/b/g/n/ac)       a/b/g/n/ac/6, dual-                               Bluetooth 5.1,
                                                band, Wi-Fi Direct.                               5.2, A2DP, LE,
 2.4 + 5.0 GHz,            band, hotspot.                                A2DP, LE, aptX
                                                   Bluetooth 5.0,                                 aptX HD, aptX
 Bluetooth 5.0 +        Bluetooth 5.0. NFC,                               HD. NFC, GPS,
                                                 A2DP, LE. NFC,                                   Adaptive. NFC,
 LE, NFC, GPS            GPS, GLONASS,                                   GPS, GLONASS,
                                                 GPS, GLONASS,                                   GPS, GLONASS,
  (GLONASS,                Galileo, QZSS                                   Galileo, BDS.
                                                 BDS, GALILEO.                                     BDS, Galileo,
Galileo, BeiDou),            Nano-SIM;                                  Single SIM (Nano-
                                                   Nano-SIM and                                  QZSS, Dual SIM
  eSIM capable          eSIM or Dual SIM                                  SIM) or Hybrid
                                                eSIM or Dual SIM                                 (Nano-SIM, dual
                                                                         Dual SIM (Nano-
                                                                                                     stand-by)
                                                                        SIM, dual stand-by)




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                                                                                                Connectivity: Wi-Fi
                                                                        Connectivity: Wi-Fi
                                                   Connectivity:                                 802.11 a/b/g/n/ac/
  Connectivity:            Connectivity:                                802.11 a/b/g/n/ac/6,
                                                   Wi-Fi 802.11                                 6e, dual-band, Wi-
       Wi-                Wi-Fi 5 802.11                                 dual-band, Wi-Fi
                                                 a/b/g/n/ac/6, dual-                             Fi Dir. Bluetooth:
Fi 5 (a/b/g/n/ac)        a/b/g/n/ac/6, dual-                              Direct, DLNA.
                                                band, Wi-Fi Direct.                               5.2, A2DP, LE,
 2.4 + 5.0 GHz,            band, hotspot.                                  Bluetooth 5.1,
                                                   Bluetooth 5.0,                                 aptX HD, aptX
 Bluetooth 5.0 +        Bluetooth 5.0. NFC,                              A2DP, LE, aptX
                                                 A2DP, LE. NFC,                                   Adaptive. NFC,
 LE, NFC, GPS            GPS, GLONASS,                                    HD. NFC, GPS,
                                                 GPS, GLONASS,                                   GPS, GLONASS,
  (GLONASS,                Galileo, QZSS                                 GPS, GLONASS,
                                                 BDS, GALILEO.                                     BDS, Galileo,
Galileo, BeiDou),           Nano-SIM;                                      Galileo, BDS.
                                                   Nano-SIM and                                  QZSS, Dual SIM
  eSIM capable          eSIM or Dual SIM                                Single SIM (Nano-
                                                eSIM or Dual SIM                                 (Nano-SIM, dual
                                                                                SIM
                                                                                                     stand-by)
                                                                                                Connectivity: Wi-Fi
                                                                        Connectivity: Wi-Fi
                                                   Connectivity:                                 802.11 a/b/g/n/ac/
  Connectivity:            Connectivity:                                802.11 a/b/g/n/ac/6,
                                                   Wi-Fi 802.11                                 6e, dual-band, Wi-
       Wi-                Wi-Fi 5 802.11                                 dual-band, Wi-Fi
                                                 a/b/g/n/ac/6, dual-                             Fi Dir. Bluetooth:
Fi 5 (a/b/g/n/ac)        a/b/g/n/ac/6, dual-                              Direct, DLNA.
                                                band, Wi-Fi Direct.                               5.2, A2DP, LE,
 2.4 + 5.0 GHz,            band, hotspot.                                  Bluetooth 5.1,
                                                   Bluetooth 5.0,                                 aptX HD, aptX
 Bluetooth 5.0 +        Bluetooth 5.0. NFC,                              A2DP, LE, aptX
                                                 A2DP, LE. NFC,                                   Adaptive. NFC,
 LE, NFC, GPS            GPS, GLONASS,                                    HD. NFC, GPS,
                                                 GPS, GLONASS,                                   GPS, GLONASS,
  (GLONASS,                Galileo, QZSS                                 GPS, GLONASS,
                                                 BDS, GALILEO.                                     BDS, Galileo,
Galileo, BeiDou),           Nano-SIM;                                      Galileo, BDS.
                                                   Nano-SIM and                                  QZSS, Dual SIM
  eSIM capable          eSIM or Dual SIM                                Single SIM (Nano-
                                                eSIM or Dual SIM                                 (Nano-SIM, dual
                                                                                SIM
                                                                                                     stand-by)

  Google's Android                                Google's Android        Google's Android        Google's Android
                             Apple’s iOS
  operating system                                operating system        operating system        operating system
                          operating system
    features a lock                                 features a lock         features a lock         features a lock
                            features a lock
    mechanism to                                    mechanism to            mechanism to            mechanism to
                            mechanism to
secure your phone,                              secure your phone,      secure your phone,      secure your phone,
                         secure your phone.
  known as pattern                                known as pattern        known as pattern        known as pattern
                            After multiple
  lock. To set, drag                              lock. To set, drag      lock. To set, drag      lock. To set, drag
                          failed attempts to
  your finger along                               your finger along       your finger along       your finger along
                          unlock the phone,
lines on the screen.                            lines on the screen.    lines on the screen.    lines on the screen.
                        the phone locks and
    To unlock the                                   To unlock the           To unlock the           To unlock the
                          is disabled (made
   phone, replicate                                phone, replicate        phone, replicate        phone, replicate
                             unavailable).
 the pattern drawn.                              the pattern drawn.      the pattern drawn.      the pattern drawn.
 If you fail to solve                            If you fail to solve    If you fail to solve    If you fail to solve
                         Apple Home Key
    the pattern too                                 the pattern too         the pattern too         the pattern too
                        digital security code
   many times, the                                 many times, the         many times, the         many times, the
                         is stored in Apple
   phone locks and                                 phone locks and         phone locks and         phone locks and
                          Wallet app. It is
cannot be unlocked                              cannot be unlocked      cannot be unlocked      cannot be unlocked
                           based on NFC
   without logging                                 without logging         without logging         without logging
                            technology. 2
 into the associated                             into the associated     into the associated     into the associated
                        modes of operation:
   Google account.                                 Google account.         Google account.         Google account.
                           Express Mode:
                         Bring an iPhone or
   Google Nest ×                                   Google Nest ×           Google Nest ×           Google Nest ×
                        Apple Watch to the
    Yale Lock is                                    Yale Lock is            Yale Lock is            Yale Lock is
                          lock. Face ID or
  connected to the                                connected to the        connected to the        connected to the
                        Passcode. Must use
 Nest app; you can                               Nest app; you can       Nest app; you can       Nest app; you can
                              Face ID /
lock or unlock your                             lock or unlock your     lock or unlock your     lock or unlock your
                         Touch ID or enter
  door from your                                  door from your          door from your          door from your
                             a passcode.
      phone.                                          phone.                  phone.                  phone.



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                                                                                              ASUS / Qualcomm
                       USB-A to Lightning
                                                                                                Smartphone for
 Pixel phones use       cable or the newer
                                                                      UrbanX USB-C to        Snapdragon Insiders
USB-C with USB         USB-C to Lightning
                                                Samsung USB-C         USB 3.1 Adapter,         Dual Port 32GB
2.0 power adapters        cable with your
                                                 Cable lets you        USB-C Male to              USB Type C
  and cables. To            iPhone. The
                                               charge your USB-        USB-A Female,            Memory Stick;
charge your phone        MagSafe Battery
                                               C device as well as     Uses USB OTG          32GB USB Type-C
   with a USB-         Pack makes on-the-
                                                sync your data to       Technology,          flash drive; Features
 A power adapter,            go, wireless
                                                your smartphone        Compatible with            USB Type-C
  use a USB-C to        charging easy and
                                                                      LG V60 ThinQ 5G           connector and a
   USB-A cable.        reliable—just attach
                                                                                                traditional USB
                         it to your iPhone
                                                                                                   connector.




                            Apple’s iOS
                         operating system
                        allows for Face ID
                        authentication with
                        the iPhone 12. The
                        phone also features
                       a lock mechanism to
  BIOMETRICS:                                    BIOMETRICS:            BIOMETRICS:            BIOMETRICS:
                        secure your phone.
 Biometric factors                              Biometric factors      Biometric factors      Biometric factors
                           After multiple
  allow for secure                               allow for secure       allow for secure       allow for secure
                         failed attempts to
 authentication on                              authentication on      authentication on      authentication on
                         unlock the phone,
    the Android                                    the Android            the Android            the Android
                       the phone locks and
   platform. The                                  platform. The          platform. The          platform. The
                         is disabled (made
Android framework                              Android framework      Android framework      Android framework
                            unavailable).
 includes face and                              includes face and      includes face and      includes face and
     fingerprint                                    fingerprint            fingerprint            fingerprint
                        Apple Home Key
      biometric                                      biometric              biometric              biometric
                       digital security code
   authentication.                                authentication.        authentication.        authentication.
                        is stored in Apple
  Android can be                                 Android can be         Android can be         Android can be
                         Wallet app. It is
   customized to                                  customized to          customized to          customized to
                          based on NFC
support other forms                            support other forms    support other forms    support other forms
                           technology. 2
    of biometric                                   of biometric           of biometric           of biometric
                       modes of operation:
authentication (such                           authentication (such   authentication (such   authentication (such
                          Express Mode:
       as Iris).                                      as Iris).              as Iris).              as Iris).
                        Bring an iPhone or
                       Apple Watch to the
                         lock. Face ID or
                       Passcode. Must use
                              Face ID,
                        Touch ID, or enter
                            a passcode.




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                                 iOS Team
    Android Team                                        Android Team              Android Team              Android Team
                              Awareness Kit,
   Awareness Kit,                                      Awareness Kit,            Awareness Kit,            Awareness Kit,
                           iTAK (built on the
ATAK (built on the                                  ATAK (built on the        ATAK (built on the        ATAK (built on the
                            iOS 14.1, or later,
 Android operating                                   Android operating         Android operating         Android operating
                            operating system)
 system) provides a                                  system) provides a        system) provides a        system) provides a
                                provides an
 single interface for                                single interface for      single interface for      single interface for
                                interface for
     viewing and                                         viewing and               viewing and               viewing and
                                viewing and
controlling different                               controlling different     controlling different     controlling different
                          controlling different
   CBRN-sensing                                        CBRN-sensing              CBRN-sensing              CBRN-sensing
                              CBRN-sensing
    technologies,                                       technologies,             technologies,             technologies,
                               technologies,
  whether that is a                                   whether that is a         whether that is a         whether that is a
                             whether that is a
       wearable                                            wearable                  wearable                  wearable
                                  wearable
   smartwatch that                                     smartwatch that           smartwatch that           smartwatch that
                             smartwatch that
     measures a                                          measures a                 measures a               measures a
                                 measures a
 warfighter’s vitals                                 warfighter’s vitals       warfighter’s vitals       warfighter’s vitals
                           warfighter’s vitals
(e.g., heart rate) or a                             (e.g., heart rate) or a   (e.g., heart rate) or a   (e.g., heart rate) or a
                          (e.g., heart rate) or a
 device mounted on                                   device mounted on         device mounted on         device mounted on
                           device mounted on
  a drone to detect                                   a drone to detect         a drone to detect         a drone to detect
                             a drone to detect
  chemical warfare                                    chemical warfare          chemical warfare          chemical warfare
                            chemical warfare
        agents.                                             agents.                   agents.                   agents.
                                   agents.

    Android Team                                        Android Team              Android Team              Android Team
   Awareness Kit,                iOS Team              Awareness Kit,            Awareness Kit,            Awareness Kit,
ATAK (built on the            Awareness Kit,        ATAK (built on the        ATAK (built on the        ATAK (built on the
 Android operating         iTAK (built on the        Android operating         Android operating         Android operating
 system) is a digital       iOS 14.1, or later,      system) is a digital      system) is a digital      system) is a digital
      application         operating system) is            application                application              application
      available to        a digital application           available to              available to              available to
      warfighters               available to              warfighters               warfighters               warfighters
    throughout the              warfighters             throughout the            throughout the            throughout the
DoD. ATAK offers          throughout the DHS        DoD. ATAK offers          DoD. ATAK offers          DoD. ATAK offers
      warfighters         / DoD. iTAK offers              warfighters               warfighters               warfighters
geospatial mapping              warfighters         geospatial mapping        geospatial mapping        geospatial mapping
     for situational       geospatial mapping            for situational           for situational           for situational
  awareness during             for situational        awareness during          awareness during          awareness during
  combat — on an            awareness during          combat — on an            combat — on an            combat — on an
   end-user device           combat — on an            end-user device           end-user device           end-user device
        such as a             end-user device               such as a                 such as a                 such as a
   smartphone or a                such as a            smartphone or a           smartphone or a           smartphone or a
      tablet. With           smartphone or a              tablet. With              tablet. With              tablet. With
        DTRA’s                  tablet. With                DTRA’s                    DTRA’s                    DTRA’s
contribution, ATAK                DTRA’s            contribution, ATAK        contribution, ATAK        contribution, ATAK
     now includes          contribution, iTAK            now includes              now includes              now includes
       chemical,           includes chemical,              chemical,                  chemical,                chemical,
       biological,               biological,               biological,               biological,               biological,
  radiological, and          radiological, and        radiological, and         radiological, and         radiological, and
  nuclear (CBRN)             nuclear (CBRN)           nuclear (CBRN)            nuclear (CBRN)            nuclear (CBRN)
        plug-ins.                 plug-ins.                 plug-ins.                 plug-ins.                 plug-ins.




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                                                                                                Connectivity: Wi-Fi
                                                                        Connectivity: Wi-Fi
                          Connectivity:            Connectivity:                                 802.11 a/b/g/n/ac/
                                                                        802.11 a/b/g/n/ac/6,
                         Wi-Fi 5 802.11            Wi-Fi 802.11                                 6e, dual-band, Wi-
  Connectivity:                                                          dual-band, Wi-Fi
                        a/b/g/n/ac/6, dual-      a/b/g/n/ac/6, dual-                             Fi Dir. Bluetooth:
Wi-Fi 5 (a/b/g/n/ac)                                                      Direct, DLNA.
                          band, hotspot.        band, Wi-Fi Direct.                               5.2, A2DP, LE,
 2.4 + 5.0 GHz,                                                            Bluetooth 5.1,
                          Bluetooth 5.0.           Bluetooth 5.0,                                 aptX HD, aptX
 Bluetooth 5.0 +                                                         A2DP, LE, aptX
                            NFC, GPS,            A2DP, LE. NFC,                                   Adaptive. NFC,
 LE, NFC, GPS                                                             HD. NFC, GPS,
                           GLONASS,              GPS, GLONASS,                                   GPS, GLONASS,
  (GLONASS,                                                              GPS, GLONASS,
                          Galileo, QZSS          BDS, GALILEO.                                     BDS, Galileo,
Galileo, BeiDou),                                                          Galileo, BDS.
                           Nano-SIM;               Nano-SIM and                                  QZSS, Dual SIM
  eSIM capable                                                          Single SIM (Nano-
                        eSIM or Dual SIM        eSIM or Dual SIM                                 (Nano-SIM, dual
                                                                                SIM
                                                                                                     stand-by)



                         Apple Home Key
                        digital security code
                         is stored in Apple
                          Wallet app. It is
                           based on NFC
                            technology. 2
Google Nest × Yale                              Google Nest × Yale      Google Nest × Yale      Google Nest × Yale
                        modes of operation:
 Lock is connected                               Lock is connected       Lock is connected       Lock is connected
                           Express Mode:
to the Nest app; you                            to the Nest app; you    to the Nest app; you    to the Nest app; you
                         Bring an iPhone or
 can lock or unlock                              can lock or unlock      can lock or unlock      can lock or unlock
                        Apple Watch to the
your door from your                                your door from       your door from your     your door from your
                          lock. Face ID or
       phone.                                        your phone.               phone.                  phone.
                        Passcode. Must use
                              Face ID /
   Android Team                                    Android Team            Android Team            Android Team
                         Touch ID, or enter
   Awareness Kit,                                  Awareness Kit,          Awareness Kit,          Awareness Kit,
                             a passcode.
ATAK (built on the                              ATAK (built on the      ATAK (built on the      ATAK (built on the
 Android operating                               Android operating       Android operating       Android operating
                              iOS Team
 system) provides a                              system) provides a      system) provides a      system) provides a
                           Awareness Kit,
 single interface for                            single interface for    single interface for    single interface for
                         iTAK (built on the
    viewing and                                     viewing and             viewing and             viewing and
                          iOS 14.1, or later,
controlling different                           controlling different   controlling different   controlling different
                          operating system)
   CBRN-sensing                                    CBRN-sensing            CBRN-sensing            CBRN-sensing
                             provides an
    technologies                                    technologies            technologies            technologies
                            interface for
                            viewing and
                        controlling different
                           CBRN-sensing
                            technologies




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                         Apple Home Key
                        digital security code
                         is stored in Apple
                          Wallet app. It is
                           based on NFC
Google Nest × Yale                              Google Nest × Yale      Google Nest × Yale      Google Nest × Yale
                            technology. 2
 Lock is connected                               Lock is connected       Lock is connected       Lock is connected
                        modes of operation:
to the Nest app; you                            to the Nest app; you    to the Nest app; you    to the Nest app; you
                           Express Mode:
 can lock or unlock                              can lock or unlock      can lock or unlock      can lock or unlock
                         Bring an iPhone or
your door from your                                your door from       your door from your     your door from your
                        Apple Watch to the
       phone.                                        your phone.               phone.                  phone.
                          lock. Face ID or
                        Passcode. Must use
   Android Team                                    Android Team            Android Team            Android Team
                         Face ID-Touch ID
   Awareness Kit,                                  Awareness Kit,          Awareness Kit,          Awareness Kit,
                        or enter a passcode.
ATAK (built on the                              ATAK (built on the      ATAK (built on the      ATAK (built on the
 Android operating                               Android operating       Android operating       Android operating
                              iOS Team
 system) provides a                              system) provides a      system) provides a      system) provides a
                           Awareness Kit,
 single interface for                            single interface for    single interface for    single interface for
                         iTAK (built on the
    viewing and                                     viewing and             viewing and             viewing and
                          iOS 14.1, or later,
controlling different                           controlling different   controlling different   controlling different
                          operating system)
   CBRN-sensing                                    CBRN-sensing            CBRN-sensing            CBRN-sensing
                             provides an
    technologies                                    technologies            technologies            technologies
                            interface for
                            viewing and
                        controlling different
                           CBRN-sensing
                            technologies

    Android Team                                    Android Team            Android Team            Android Team
                               iOS Team
   Awareness Kit,                                  Awareness Kit,          Awareness Kit,          Awareness Kit,
                            Awareness Kit,
ATAK (built on the                              ATAK (built on the      ATAK (built on the      ATAK (built on the
                         iTAK (built on the
 Android operating                               Android operating       Android operating       Android operating
                          iOS 14.1, or later,
 system) is a digital                            system) is a digital    system) is a digital    system) is a digital
                        operating system) is
      application                                     application              application            application
                        a digital application
      available to                                    available to            available to            available to
                              available to
      warfighters                                     warfighters             warfighters             warfighters
                              warfighters
    throughout the                                  throughout the          throughout the          throughout the
                        throughout the DHS
DoD. ATAK offers                                DoD. ATAK offers        DoD. ATAK offers        DoD. ATAK offers
                        / DoD. iTAK offers
      warfighters                                     warfighters             warfighters             warfighters
                              warfighters
geospatial mapping                              geospatial mapping      geospatial mapping      geospatial mapping
                        geospatial mapping
     for situational                                 for situational         for situational         for situational
                             for situational
  awareness during                                awareness during        awareness during        awareness during
                          awareness during
  combat — on an                                  combat — on an          combat — on an          combat — on an
                           combat — on an
   end-user device                                 end-user device         end-user device         end-user device
                            end-user device
        such as a                                       such as a               such as a               such as a
                                such as a
   smartphone or a                                 smartphone or a         smartphone or a         smartphone or a
                           smartphone or a
      tablet. With                                    tablet. With            tablet. With            tablet. With
                              tablet. With
        DTRA’s                                          DTRA’s                  DTRA’s                  DTRA’s
                                DTRA’s
contribution, ATAK                              contribution, ATAK      contribution, ATAK      contribution, ATAK
                         contribution, iTAK
     now includes                                    now includes            now includes            now includes
                         includes chemical,
       chemical,                                       chemical,                chemical,              chemical,
                               biological,
       biological,                                     biological,             biological,             biological,
                           radiological, and
  radiological, and                               radiological, and       radiological, and       radiological, and
                           nuclear (CBRN)
  nuclear (CBRN)                                  nuclear (CBRN)          nuclear (CBRN)          nuclear (CBRN)
                                plug-ins.
        plug-ins.                                       plug-ins.               plug-ins.               plug-ins.



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     Android Team                                    Android Team            Android Team
                                iOS Team
    Awareness Kit,                                  Awareness Kit,          Awareness Kit,
                             Awareness Kit,                                                         Android Team
 ATAK (built on the                              ATAK (built on the      ATAK (built on the
                          iTAK (built on the                                                        Awareness Kit,
  Android operating                               Android operating       Android operating
                           iOS 14.1, or later,                                                    ATAK (built on the
  system) is a digital                            system) is a digital    system) is a digital
                         operating system) is                                                     Android operating
       application                                     application             application
                         a digital application                                                    system) is a digital
       available to                                    available to            available to
                               available to                                                      application available
       warfighters                                     warfighters             warfighters
                               warfighters                                                          to warfighters
     throughout the                                  throughout the          throughout the
                         throughout the DHS                                                      throughout the DoD.
 DoD. ATAK offers                                DoD. ATAK offers        DoD. ATAK offers
                         / DoD. iTAK offers                                                          ATAK offers
       warfighters                                     warfighters             warfighters
                               warfighters                                                            warfighters
 geospatial mapping                              geospatial mapping      geospatial mapping
                          geospatial mapping                                                      geospatial mapping
      for situational                                 for situational         for situational
                              for situational                                                       for situational
   awareness during                                awareness during        awareness during
                           awareness during                                                        awareness during
   combat — on an                                  combat — on an          combat — on an
                            combat — on an                                                         combat — on an
    end-user device                                 end-user device         end-user device
                             end-user device                                                     end-user device such
         such as a                                       such as a               such as a
                                 such as a                                                       as a smartphone or a
    smartphone or a                                 smartphone or a         smartphone or a
                            smartphone or a                                                           tablet. With
       tablet. With                                    tablet. With            tablet. With
                               tablet. With                                                             DTRA’s
         DTRA’s                                          DTRA’s                  DTRA’s
                                 DTRA’s                                                          contribution, ATAK
 contribution, ATAK                              contribution, ATAK      contribution, ATAK
                          contribution, iTAK                                                         now includes
      now includes                                    now includes            now includes
                          includes chemical,                                                     chemical, biological,
        chemical,                                       chemical,               chemical,
                                biological,                                                        radiological, and
        biological,                                     biological,             biological,
                            radiological, and                                                      nuclear (CBRN)
   radiological, and                               radiological, and       radiological, and
                            nuclear (CBRN)                                                              plug-ins.
   nuclear (CBRN)                                  nuclear (CBRN)          nuclear (CBRN)
                                 plug-ins.
         plug-ins.                                       plug-ins.               plug-ins.

Figure 1

Google’s “use” of Plaintiff’s Patented Central Processing Units (CPUs)
        “[T]he Accused Products (i.e., Google, Apple, Samsung, LG, and Asus/Qualcomm
smartphones) , which are “computers” (i.e., cell phones, computer tablets, and laptops), include
components of a memory, a display, and a processor” … “[w]hen in use, the “Find My Device”
pre-loaded onto the Accused Product uses a processor” … “[t]he “Find My Device” feature
displays [] information through a processor using data stored in the device’s memory” … “[t]he
LG Support Page lays out in a step-by-step process how to correctly remotely log in to the
processor to access [] lock the device” … See Carolyn Hafeman v. LG Electronics Inc.
        In the above claim chart, the Google, Samsung, LG, and Asus/Qualcomm smartphones
have Qualcomm Snapdragon Chipsets; have Octa-core CPUs (processors); have Google Android
Operating Systems; have Qualcomm Snapdragon Modems; have Google “Find My Device” pre-
installed See Carolyn Hafeman v. LG Electronics Inc.; have Google Android Team Awareness
Kits; have Megapixel cameras for CBR sensing; have cameras for captioning nanopores;
Biosensors for CBRNE detection; and, Plug-Ins for CBRN detection.

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        Figure 2 is a comparative chart of the “megapixel” smartphone cameras

used for detecting Chem/Bio agents. For each different way used, it qualifies as an

alternative to the ATAK.

                                                                                                       Asus /
                                                                                                     Qualcomm
  Google Pixel 5         Apple iPhone 12          Samsung Galaxy           LG V60 ThinQ
                                                                                                   Smartphone for
   Smartphone             Smartphone              S21 Smartphone               5G
                                                                                                    Snapdragon
                                                                                                      Insiders

     Google Pixel 5:        Apple iPhone 12:        Samsung Galaxy        LG V60 ThinQ 5G:         Asus / Qualcomm:
     Dual - 12.2 MP            Dual - 12 MP       S21: Triple - 12 MP          Dual - 64 MP            Triple - 64 MP
   (megapixel), OIS      (megapixel), OIS 12        (megapixel), OIS        (megapixel), OIS       (megapixel) OIS; 8
  16 MP (megapixel)          MP (megapixel)        64 MP (megapixel)       13 MP (megapixel)       MP, 12MP (mega)
  Camera lens in cell     Camera lens in cell      Camera lens in cell     Camera lens in cell     Camera lens in cell
        phone with              phone with               phone with              phone with               phone with
   microfluidic lens        microfluidic lens       microfluidic lens       microfluidic lens        microfluidic lens
 functions as camera;    functions as camera;     functions as camera;    functions as camera;    functions as camera;
  uses microscope to       uses microscope to      uses microscope to      uses microscope to      uses microscope to
 focus on a chemical      focus on a chemical     focus on a chemical     focus on a chemical     focus on a chemical
 sensor. A megapixel     sensor. A megapixel      sensor. A megapixel     sensor. A megapixel     sensor. A megapixel
 camera captures the      camera captures the     camera captures the     camera captures the     camera captures the
     image from the           image from the          image from the          image from the           image from the
  array of nanopores       array of nanopores      array of nanopores      array of nanopores       array of nanopores
    uses fluid rather        uses fluid rather       uses fluid rather       uses fluid rather        uses fluid rather
  than bulky moving        than bulky moving       than bulky moving       than bulky moving        than bulky moving
   parts. The sensors       parts. The sensors      parts. The sensors      parts. The sensors       parts. The sensors
    contained in one         contained in one        contained in one        contained in one         contained in one
  array is determined     array is determined      array is determined     array is determined     array is determined
       by the pixel             by the pixel            by the pixel            by the pixel             by the pixel
    resolution phone        resolution phone         resolution phone        resolution phone         resolution phone
  camera. Megapixel        camera. Megapixel       camera. Megapixel       camera. Megapixel       camera. Megapixel
    resolution in cell      resolution in cell       resolution in cell      resolution in cell      resolution in cell
     phone cameras;          phone cameras;           phone cameras;          phone cameras;           phone cameras;
     probe a million          probe a million         probe a million         probe a million          probe a million
   different spots on       different spots on      different spots on      different spots on       different spots on
         the sensor              the sensor               the sensor              the sensor               the sensor
     simultaneously.         simultaneously.          simultaneously.         simultaneously.          simultaneously.
  Tiny sensors tucked     Tiny sensors tucked      Tiny sensors tucked     Tiny sensors tucked     Tiny sensors tucked
     into cell phones        into cell phones         into cell phones        into cell phones         into cell phones
 could map airborne       could map airborne      could map airborne      could map airborne      could map airborne
  toxins in real time.     toxins in real time.    toxins in real time.    toxins in real time.     toxins in real time.
     Source: https://         Source: https://        Source: https://        Source: https://         Source: https://
 www.understanding       www.understanding        www.understanding       www.understanding       www.understanding
      nano.com/cell-          nano.com/cell-           nano.com/cell-          nano.com/cell-           nano.com/cell-
      phone-sensors-          phone-sensors-           phone-sensors-          phone-sensors-           phone-sensors-
        toxins.html             toxins.html              toxins.html             toxins.html              toxins.html

Figure 2


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      Figure 3 is a visual display of different ways the smartphone camera 1 2 can

be used for detecting Chem/Bio agents. For each different way used, it qualifies as

an alternative to the ATAK.




      Figure 3

_____________________________________________________________________________________________

1    The camera captures the image from the array of nanopores that uses fluid rather than bulky moving
parts. The sensors contained in one array is determined by the resolution phone camera. The resolution in
cell phone cameras; probe a million different spots on the sensor simultaneously. Tiny sensors tucked into
cell phones could map airborne toxins in real time. Source: https:// www.understanding nano.com/cell-
phone-sensors-toxins.html
2    Hyperspectral imaging scans for light frequencies that humans can't see in order to identify the
unique chemical signatures of different substances. They say their device, which can be mass produced, is
compatible with all standard smartphone cameras. These New Smartphone Cameras Could Tell You What
an Object Is Made of https://www.sciencealert.com/new-smartphone-cameras-could-tell-you-what-an-
object-is-made-of




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     Figure 4 describes how at least nine (9) standard sensors for the Google,

Apple, Samsung, LG, and Asus/Qualcomm smartphones can be used as

“biosensors”. For each different way used, it qualifies as an alternative to ATAK.




      Figure 4



The Smartphones Biosensors:
   1. Ambient light sensor: Cancer biomarkers; Toxic metals; Pathogens
   2. Capillary inlet: (Air analysis). Airborne Pathogens; Aerosols
   3. Capillary inlet: (Fluid analysis). Blood analysis; Biomarkers
   4. Microfluidic cassette: Interchangeable cassettes with varying assays
   5. VIS-NIR spectrometer: Food freshness; Melanoma
   6. NNAP Electrodes: Toxic metals and Organic pollutants in water
   7. Optical Waveguide: Pathogens in water and food
   8. Back and front camera: Colorimetric analysis; Image analysis
   9. Microphone: Voice recording stress levels


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       Figure 5 list some of the same standard sensors illustrated in Figure 4. The

port on the smartphones is used for the CBRN plug-ins included in ATAK.




      Figure 5


       ATAK is a digital application available to warfighters throughout the DoD. Built on the

Android operating system, ATAK offers warfighters geospatial mapping for situational

awareness during combat — on an end-user device such as a smartphone or a tablet. With

DTRA’s contribution, ATAK now includes chemical, biological, radiological, and nuclear

(CBRN) plug-ins.

       Just having a plug-in is not all that’s involved. There has to be an app specific software to

sync the chemical, biological, radiological, and nuclear sensors to the smartphone plus the

Google Android Operating System.




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                    Exhibit D




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 Google Pixel 5 Smartphone and Apple iPhone 12 Smartphone Comparison

 Google Pixel 5        Apple iPhone 12           Claim 5 of the         Claim 23 of the         Claim 1 of the
  Smartphone            Smartphone                ‘287 Patent            ‘439 Patent             ‘189 Patent

                                                                                                A communication
                                                                                                device of at least
                                                                                               one of a cell phone,
                                                                                                a smart phone, a
                                                                                                    desktop, a
                                                                                               handheld, a PDA, a
                                                                                                   laptop, or a
                                                   A monitoring            A cell phone
                                                                                               computer terminal
                                                device, comprising:        comprising:
                                                                                                 for monitoring
                                                                                                     products,
                                                                                               interconnected to a
                                                                                                    product for
                                                                                                 communication
                                                                                                  therebetween,
                                                                                                   comprising:

                                                                                                 at least one of a
                                                                                                central processing
                                                                                                  unit (CPU) for
                                                                                                  executing and
                                                                                                 carrying out the
CPU: Octa-core (1                                                                                instructions of a
                         CPU: Hexa-core
 × 2.4 GHz Kryo                                                                                computer program,
                      (2x3.1 GHz Firestorm                              a central processing
 475 Prime & 1 ×                                                                                     a network
                           + 4x1.8 GHz                                     unit (CPU) for
2.2 GHz Kryo 475                                at least one central                           processor which is
                      Icestorm). System-on-                                executing and
  Gold & 6 × 1.8                                  processing unit                                   specifically
                        a-chip: Apple A14                                 carrying out the
  GHz Kryo 475                                        (CPU);                                      targeted at the
                        Bionic (5 nm). iOS                                instructions of a
Silver) System-on-                                                                                  networking
                        14.1, upgradable to                             computer program;
a-chip: Qualcomm                                                                                    application
                             iOS 16.1
Snapdragon 765G                                                                                domain, or a front-
                                                                                                end processor for
                                                                                                 communication
                                                                                                  between a host
                                                                                               computer and other
                                                                                                      devices;

       Ambient         Temperature sensors
    Temperature         located within; the
  sensor supported     sensors monitor the           at least one
   by the Android     battery and processor's   temperature sensor
platform. Measures        temperature. In        in communication
                                                                                 X                      X
 the ambient room     extreme temperatures      with the at least one
   temperature in       (hot or cold), these    CPU for monitoring
   degrees Celsius    sensors shut down the         temperature;
  (°C). Monitoring       device to prevent
  air temperatures.           damage




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                             Accelerometer
                            (gravity sensor)
   Gravity sensor       supported by the iOS
 supported by the              platform.
 Android platform.      Accelerometer/Motion
Measures the force        sensor: This sensor      at least one motion
    of gravity in           helps the screen             sensor in
m/s2 that is applied     automatically switch        communication                  X                      X
 to a device on all        from landscape to       with the at least one
three physical axes       portrait modes and               CPU;
  (x, y, z). Motion      back again based on
 detection (shake,           whether you’re
      tilt, etc.).         holding the phone
                              vertically or
                              horizontally.


     Light sensor          Adjusts the screen
  supported by the           brightness for
 Android platform.      current light conditions
                                                   at least one viewing
    Measures the           using the built-in
                                                         screen for
 ambient light level     ambient light sensor.
                                                       monitoring in
(illumination) in lx.     Screen: 6.1” Super                                        X                      X
                                                      communication
 Controlling screen      Retina XDR (OLED).
                                                   with the at least one
brightness. Screen:         Lock the screen
                                                           CPU;
   6-inch flexible        orientation so that it
  OLED display at        doesn’t change when
       432 ppi           the iPhone is rotated.


                                                                             at least one of a
                                                                                  satellite
                                                                                                  at least one satellite
                                                                               connection,
                                                                                                       connection,
                                                                                 Bluetooth
                                                                                                        Bluetooth
                                                                            connection, WiFi
                            Connectivity:                                                          connection, WiFi
                                                                           connection, internet
  Connectivity:           Wi-Fi 5 802.11                                                               connection,
                                                                            connection, radio
Wi-Fi 5 (a/b/g/n/ac)     a/b/g/n/ac/6, dual-        at least one global                                  internet
                                                                             frequency (RF)
 2.4 + 5.0 GHz,            band, hotspot.          positioning system                              connection, radio
                                                                           connection, cellular
 Bluetooth 5.0 +           Bluetooth 5.0.           (GPS) connection                                 frequency (RF)
                                                                               connection,
 LE, NFC, GPS                NFC, GPS,              in communication                              connection, cellular
                                                                                broadband
  (GLONASS,                  GLONASS,              with the at least one                               connection,
                                                                            connection, long
Galileo, BeiDou),       Galileo, QZSS Nano-                CPU;                                         broadband
                                                                                range radio
  eSIM capable                  SIM;                                                                connection, long
                                                                             frequency (RF)
                         eSIM or Dual SIM                                                           and short-range
                                                                            connection, short
                                                                                                    radio frequency
                                                                                range radio
                                                                                                  (RF) connection, or
                                                                             frequency (RF)
                                                                                                   GPS connection;
                                                                           connection, or GPS
                                                                               connection;




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                                                                                                    wherein the only
                                                                             wherein at least        type or types of
                            Connectivity:
                                                                              one of… WiFi           communication
  Connectivity:           Wi-Fi 5 802.11
                                                    at least one of an     connection, internet   with the transmitter
Wi-Fi 5 (a/b/g/n/ac)     a/b/g/n/ac/6, dual-
                                                   internet connection      connection, radio      and the receiver of
 2.4 + 5.0 GHz,            band, hotspot.
                                                        or a Wi-Fi           frequency (RF)       the communication
 Bluetooth 5.0 +           Bluetooth 5.0.
                                                      connection in        connection, cellular         device and
 LE, NFC, GPS                NFC, GPS,
                                                     communication            connection…          transceivers of the
  (GLONASS,                  GLONASS,
                                                     with the at least      capable of signal     products is a type or
Galileo, BeiDou),       Galileo, QZSS Nano-
                                                        one CPU;             communication        types selected from
  eSIM capable                  SIM;
                                                                           with the transmitter       the group… of
                         eSIM or Dual SIM
                                                                             or the receiver;     satellite, Bluetooth,
                                                                                                          WiFi…

                                                                            at least one of a…
                            Connectivity:
                                                     at least one of a           Bluetooth
  Connectivity:           Wi-Fi 5 802.11
                                                         Bluetooth          connection, WiFi
Wi-Fi 5 (a/b/g/n/ac)     a/b/g/n/ac/6, dual-
                                                      connection, a        connection, internet
 2.4 + 5.0 GHz,            band, hotspot.
                                                   cellular connection,        connection…
 Bluetooth 5.0 +           Bluetooth 5.0.
                                                       or a satellite             cellular                 X
 LE, NFC, GPS                NFC, GPS,
                                                      connection in        connection… short
  (GLONASS,                  GLONASS,
                                                     communication              range radio
Galileo, BeiDou),       Galileo, QZSS Nano-
                                                     with the at least       frequency (RF)
  eSIM capable                  SIM;
                                                         one CPU;          connection, or GPS
                         eSIM or Dual SIM
                                                                                connection;

  Google's Android
  operating system
                        Apple’s iOS operating
    features a lock
                        system features a lock
    mechanism to
                         mechanism to secure
secure your phone,                                 at least one locking
                             your phone.
  known as pattern                                    mechanism in         whereupon the cell
                            After multiple
  lock. To set, drag                                 communication               phone is
                          failed attempts to
  your finger along                                with the at least one    interconnected to
                        unlock the phone, the
lines on the screen.                                 CPU for locking          the cell phone
                          phone locks and is
    To unlock the                                  the communication       detection device to
                           disabled (made
   phone, replicate                                 device, the at least    receive signals or
                             unavailable).
 the pattern drawn.                                     one locking        send signals to lock
 If you fail to solve                                   mechanism          or unlock doors, to
                           Apple Home Key
    the pattern too                                  configured to at           activate or
                        digital security code is                                                           X
   many times, the                                 least one of engage     deactivate security
                        stored in Apple Wallet
   phone locks and                                       (lock) the        systems, to activate
                             app. It is based
cannot be unlocked                                   communication         or deactivate multi-
                                on NFC
   without logging                                  device, disengage        sensor detection
                         technology. 2 modes
 into the associated                                   (unlock) the           systems, or to
                         of operation: Express
   Google account.                                   communication              activate or
                            Mode: Bring an
                                                    device, or disable      deactivate the cell
                            iPhone or Apple
   Google Nest ×                                   (make unavailable)        phone detection
                          Watch to the lock.
    Yale Lock is                                   the communication              device;
                         Face ID or Passcode.
  connected to the                                         device;
                          Must use Face ID /
 Nest app; you can
                           Touch ID or enter
lock or unlock your
                               a passcode.
  door from your
      phone.


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                       USB-A to Lightning         at least one power
 Pixel phones use
                        cable or the newer        source comprising
USB-C with USB
                       USB-C to Lightning           at least one of a
2.0 power adapters
                          cable with your          battery, electrical
  and cables. To
                      iPhone. The MagSafe            connection, or
charge your phone                                                                 X                      X
                       Battery Pack makes                wireless
   with a USB-
                        on-the-go, wireless          connection, to
 A power adapter,
                        charging easy and          provide power to
  use a USB-C to
                      reliable—just attach it    the communication
   USB-A cable.
                          to your iPhone                 device;



                      Apple’s iOS operating
                        system allows for                                                             wherein the
                      Face ID authentication                                                       communication
                       with the iPhone 12.                                                       device is equipped
                         The phone also                                                            with a biometric
                          features a lock                                  wherein the cell       lock disabler that
  BIOMETRICS:          mechanism to secure                               phone is equipped          incorporates at
 Biometric factors         your phone.                                     with a biometric          least one of a
  allow for secure        After multiple                                  lock disabler that          fingerprint
 authentication on      failed attempts to                                  incorporates at      recognition, voice
                                                     at least one
     the Android      unlock the phone, the                                  least one of a       recognition, face
                                                 biometric sensor in
   platform. The        phone locks and is                                     fingerprint       recognition, hand
                                                   communication
Android framework        disabled (made                                  recognition, voice        geometry, retina
                                                   with the at least
 includes face and         unavailable).                                  recognition, face      scan, iris scan and
                                                    once CPU for
      fingerprint                                                         recognition, hand     signature such that
                                                 providing biometric
       biometric         Apple Home Key                                    geometry, retina     the communication
                                                  authentication to
   authentication.    digital security code is                            scan, iris scan, or      device that is at
                                                      access the
  Android can be      stored in Apple Wallet                             signature such that    least one of the cell
                                                   communication
   customized to           app. It is based                                the cell phone is      phone, the smart
                                                       device;
support other forms           on NFC                                         locked by the      phone, the desktop,
     of biometric      technology. 2 modes                                  biometric lock        the handheld, the
   authentication      of operation: Express                             disabler to prevent    PDA, the laptop or
    (such as Iris).       Mode: Bring an                                  unauthorized use;          the computer
                          iPhone or Apple                                          and           terminal is locked
                        Watch to the lock.                                                         by the biometric
                       Face ID or Passcode.                                                        lock disabler to
                        Must use Face ID,                                                               prevent
                        Touch ID, or enter                                                        unauthorized use
                             a passcode.




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    Android Team
   Awareness Kit,         iOS Team Awareness
ATAK (built on the          Kit, iTAK (built on
 Android operating        the iOS 14.1, or later,
                                                                                                  the communication
 system) provides a         operating system)                              the cell phone is at
                                                                                                   device is at least a
 single interface for      provides an interface                               least a fixed,
                                                                                                   fixed, portable or
     viewing and              for viewing and                              portable or mobile
                                                     at least one sensor                                mobile
controlling different      controlling different                             communication
                                                        for chemical,                               communication
   CBRN-sensing               CBRN-sensing                                        device
                                                        biological, or                                   device
    technologies,         technologies, whether                             interconnected to
                                                     human detection in                           interconnected to a
  whether that is a          that is a wearable                               the cell phone
                                                      communication                                fixed, portable or
       wearable               smartwatch that                               detection device,
                                                      with the at least                             mobile product,
   smartwatch that               measures a                                capable of wired or
                                                          one CPU;                                capable of wired or
      measures a            warfighter’s vitals                                  wireless
                                                                                                        wireless
 warfighter’s vitals       (e.g., heart rate) or a                           communication
                                                                                                    communication
(e.g., heart rate) or a    device mounted on a                             therebetween; and
                                                                                                    therebetween…
 device mounted on             drone to detect
  a drone to detect          chemical warfare
  chemical warfare                 agents.
        agents.


   Android Team
  Awareness Kit,
ATAK (built on the
Android operating         iOS Team Awareness
system) is a digital        Kit, iTAK (built on
      application         the iOS 14.1, or later,
      available to        operating system) is a
      warfighters           digital application                              at least one of a
   throughout the               available to                               chemical sensor, a
                                                        one or more                                   wherein the
DoD. ATAK offers                warfighters                                biological sensor,
                                                        detectors in                                communication
      warfighters         throughout the DHS /                                 an explosive
                                                      communication                                device receives a
geospatial mapping          DoD. iTAK offers                                 sensor, a human
                                                      with the at least                            signal via any of
    for situational       warfighters geospatial                                 sensor, a
                                                       one CPU for                                   one or more
 awareness during               mapping for                                contraband sensor,
                                                     detecting at least                            products listed in
 combat — on an           situational awareness                              or a radiological
                                                     one of chemical,                             any of the plurality
  end-user device          during combat — on                               sensor capable of
                                                         biological,                                  of product
       such as a            an end-user device                                being disposed
                                                      radiological, or                                 grouping
  smartphone or a         such as a smartphone                             within, on, upon or
                                                     explosive agents;                                categories;
     tablet. With            or a tablet. With                               adjacent the cell
       DTRA’s             DTRA’s contribution,                                    phone;
     contribution,            iTAK includes
     ATAK now              chemical, biological,
includes chemical,           radiological, and
      biological,         nuclear (CBRN) plug-
 radiological, and                  ins.
 nuclear (CBRN)
       plug-ins.




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                           Connectivity:
                          Wi-Fi 5 802.11           at least one radio-
  Connectivity:
                         a/b/g/n/ac/6, dual-        frequency near-
Wi-Fi 5 (a/b/g/n/ac)
                           band, hotspot.                 field
 2.4 + 5.0 GHz,
                           Bluetooth 5.0.           communication
 Bluetooth 5.0 +                                                                                           X
                             NFC, GPS,             (NFC) connection                 X
 LE, NFC, GPS
                             GLONASS,              in communication
  (GLONASS,
                        Galileo, QZSS Nano-         with the at least
Galileo, BeiDou),
                                SIM;                   one CPU…
  eSIM capable
                         eSIM or Dual SIM


                                                      at least one of a                             a transmitter for
                                                      transmitter or a                            transmitting signals
                           Apple Home Key              transceiver in                              and messages to at
                        digital security code is      communication                                    least one of
                        stored in Apple Wallet        with the at least                             plurality product
                             app. It is based             one CPU                                   groups based on
Google Nest × Yale
                                on NFC              configured to send                             the categories of a
 Lock is connected
                         technology. 2 modes        signals to monitor                                multi-sensor
to the Nest app; you
                         of operation: Express        at least one of a                            detection device, a
 can lock or unlock
                            Mode: Bring an         door, a vehicle, or a                             maritime cargo
   your door from
                            iPhone or Apple            building, send         a transmitter for     container, a cell
     your phone.
                          Watch to the lock.         signals to lock or    transmitting signals     phone detection
                         Face ID or Passcode.      unlock doors, send       and messages to a     device, or a locking
   Android Team
                          Must use Face ID /         signals to control           cell phone             device;
   Awareness Kit,
                          Touch ID, or enter         components of a        detection device; a
ATAK (built on the
                               a passcode.              vehicle, send            receiver for         a receiver for
 Android operating
                                                     signals to control      receiving signals      receiving signals,
 system) provides a
                        iOS Team Awareness           components of a       from the cell phone      data or messages
 single interface for
                         Kit, iTAK (built on           building, or…         detection device;    from at least one of
    viewing and
                        the iOS 14.1, or later,     detect at least one                             plurality product
controlling different
                          operating system)            of a chemical                                 groups based on
   CBRN-sensing
                        provides an interface       biological… agent                              the categories of a
    technologies
                           for viewing and              such that the                                  multi-sensor
                         controlling different        communication                               detection device, a
                           CBRN-sensing            device is capable of                              maritime cargo
                             technologies             communicating,                                 container, a cell
                                                         monitoring,                                 phone detection
                                                       detecting, and                             device, or a locking
                                                         controlling.                                    device;




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                           Apple Home Key
                        digital security code is
                        stored in Apple Wallet
Google Nest × Yale           app. It is based                                      whereupon the
 Lock is connected              on NFC                                            communication
to the Nest app; you     technology. 2 modes                                         device, is
 can lock or unlock      of operation: Express                                  interconnected to a
your door from your         Mode: Bring an                                     product equipped to
       phone.               iPhone or Apple                                    receive signals from
                          Watch to the lock.                                     or send signals to
   Android Team          Face ID or Passcode.                                      lock or unlock
   Awareness Kit,         Must use Face ID /                                     doors, activate or
                                                    X            X
ATAK (built on the         Touch ID or enter                                    deactivate security
 Android operating             a passcode.                                     systems, activate or
 system) provides a                                                              deactivate multi-
 single interface for   iOS Team Awareness                                        sensor detection
    viewing and          Kit, iTAK (built on                                       systems, or to
controlling different   the iOS 14.1, or later,                                      activate or
   CBRN-sensing           operating system)                                        deactivate cell
    technologies        provides an interface                                     phone detection
                           for viewing and                                            systems
                         controlling different
                           CBRN-sensing
                             technologies


    Android Team
   Awareness Kit,
ATAK (built on the
                        iOS Team Awareness                                     wherein at least one
 Android operating
                          Kit, iTAK (built on                                  satellite connection,
 system) is a digital
                        the iOS 14.1, or later,                                      Bluetooth
       application
                        operating system) is a                                   connection, WiFi
      available to
                          digital application                                  connection, internet
      warfighters
                              available to                                       connection, radio
    throughout the
                              warfighters                                         frequency (RF)
DoD. ATAK offers                                           a transmitter for
                        throughout the DHS /                                   connection, cellular
      warfighters                                       transmitting signals
                          DoD. iTAK offers                                          connection,
geospatial mapping                                       and messages to a
                        warfighters geospatial                                       broadband
     for situational                                           cell phone
                              mapping for                                      connection… short
  awareness during                                  X    detection device; a
                        situational awareness                                       range radio
  combat — on an                                              receiver for
                         during combat — on                                       frequency (RF)
   end-user device                                        receiving signals
                          an end-user device                                       connection is
        such as a                                       from the cell phone
                        such as a smartphone                                     capable of signal
   smartphone or a                                        detection device;
                           or a tablet. With                                      communication
      tablet. With
                        DTRA’s contribution,                                   with the transmitter
        DTRA’s
                            iTAK includes                                       and the receiver of
contribution, ATAK
                         chemical, biological,                                 the communication
     now includes
                           radiological, and                                         device and
        chemical,
                        nuclear (CBRN) plug-                                    transceivers of the
       biological,
                                  ins.                                                products;
  radiological, and
  nuclear (CBRN)
        plug-ins.


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    Android Team
   Awareness Kit,
ATAK (built on the
                        iOS Team Awareness
 Android operating
                          Kit, iTAK (built on          whereupon a signal
 system) is a digital
                        the iOS 14.1, or later,        sent to the receiver
       application
                        operating system) is a           of the cell phone
      available to
                          digital application            detection device
      warfighters
                              available to             from at least one of
    throughout the
                              warfighters                   the chemical
DoD. ATAK offers
                        throughout the DHS /                 sensor, the
      warfighters
                          DoD. iTAK offers              biological sensor,
geospatial mapping
                        warfighters geospatial              the explosive
     for situational
                              mapping for               sensor, the human
  awareness during                                 X                          X
                        situational awareness                sensor, the
  combat — on an
                         during combat — on            contraband sensor,
   end-user device
                          an end-user device            or the radiological
        such as a
                        such as a smartphone             sensor, causes a
   smartphone or a
                           or a tablet. With           signal that includes
      tablet. With
                        DTRA’s contribution,               at least one of
        DTRA’s
                            iTAK includes                 location data or
contribution, ATAK
                         chemical, biological,           sensor data to be
     now includes
                           radiological, and               sent to the cell
        chemical,
                        nuclear (CBRN) plug-                   phone.
       biological,
                                  ins.
  radiological, and
  nuclear (CBRN)
        plug-ins.




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Figure 1 outline different ways the smartphone camera can be used for detecting

Chem/Bio agents. For each different way used it qualifies as an alternative to the

Google Android ATAK and Apple iOS iTAK.




      Figure 1


The camera captures the image from the array of nanopores that uses fluid rather than bulky moving parts.
The sensors contained in one array is determined by the resolution phone camera. The resolution in cell
phone cameras; probe a million different spots on the sensor simultaneously. Tiny sensors tucked into cell
phones could map airborne toxins in real time. Source: https:// www.understanding nano.com/cell-phone-
sensors-toxins.html


Hyperspectral imaging scans for light frequencies that humans can't see in order to identify the unique
chemical signatures of different substances. They say their device, which can be mass produced, is
compatible with all standard smartphone cameras. These New Smartphone Cameras Could Tell You What
an Object Is Made of https://www.sciencealert.com/new-smartphone-cameras-could-tell-you-what-an-
object-is-made-of




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Figure 2 describes how at least nine (9) standard “Native” sensors for the

smartphone can be used as “biosensors”. For each different way used it qualifies as

an alternative to the Google Android ATAK and Apple iOS iTAK.




      Figure 2

The Smartphones Biosensors:
   1. Ambient light sensor: Cancer biomarkers; Toxic metals; Pathogens
   2. Capillary inlet: (Air analysis). Airborne Pathogens; Aerosols
   3. Capillary inlet: (Fluid analysis). Blood analysis; Biomarkers
   4. Microfluidic cassette: Interchangeable cassettes with varying assays
   5. VIS-NIR spectrometer: Food freshness; Melanoma
   6. NNAP Electrodes: Toxic metals and Organic pollutants in water
   7. Optical Waveguide: Pathogens in water and food
   8. Back and front camera: Colorimetric analysis; Image analysis
   9. Microphone: Voice recording stress levels

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Figure 3 “Native” to the smartphone is a “port” for plug-ins that are at least:

embedded into, affixed to, placed upon; software based, or hardware based, wired

or wireless connection, for CBRNE detection.




        Figure 3


Blueforce Plugin Series: CBRNE and HAZMAT Response (See also Figure 8)
BlueforceTACTICAL (CBRN purpose-built plugins for smartphones): The DuraForce Ultra 5G is Kyocera’s
toughest, most durable smartphone to date, certified to military standard 810H (MIL-STD-810H) to withstand drops

BlueforceTACTICAL (Google Android and Apple iOS): The ALTAIR 5X Gas Detector is capable of measuring up
to 6 gases simultaneously and is now available with integrated PID sensor for VOC detection. The 5X provide real-
time environmental awareness when paired via Bluetooth® with the BlueforceTACTICAL MSA Plugin.

BlueforceTACTICAL (Google Android and Apple iOS): The MSA Altair 4XR Multi-Gas Detector detects O2,
LEL, CO and H2S. Outfitted with rapid-response MSA XCell® sensors, the ALTAIR 4XR Gas Detector is the
toughest 4-gas monitor on the market and is backed by a 4-year warranty. The ALTAIR 4XR can also provide real-
time incident awareness when paired via Bluetooth® with the BlueforceTACTICAL MSA Plugin.

BlueforceTACTICAL (Google Android only): Detect and localize radiation sources generated by manmade devices
such as nuclear weapons, improvised nuclear devices (INDs) or radiological dispersal devices (RDDs) with the
Thermo Scientific™ RadEye™ PRD Personal Radiation Detector. The BlueforceTACTICAL Plugin shares PRD
data with other responders and can simultaneously push readings to cloud databases for longitudinal analysis.


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                    Exhibit E




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CLAIM CHART FOR THE SMARTPHONE COMPARISON BETWEEN
  THE GOOGLE PIXEL 5 AND THE SAMSUNG GALAXY S21. THE
 GOOGLE PIXEL 5 SPECIFICATIONS AND THE PATENT CLAIMS’
LIMITATIONS FOR THE ‘287, ‘439, & ‘189 PATENTS ARE THE SAME
  AS IN LARRY GOLDEN v. GOOGLE LLC; CAFC CASE NO. 22-1267


                                              Patent #:              Patent #:              Patent #:
 Google Pixel 5      Samsung Galaxy          10,163,287;            9,589,439;             9,096,189;
  Smartphone         S21 Smartphone         Independent            Independent            Independent
                                              Claim 5                Claim 23               Claim 1

                                                                                          A communication
                                                                                          device of at least
                                                                                        one of a cell phone,
                                                                                          a smart phone, a
                                                                                        desktop, a handheld,
                                                                                        a PDA, a laptop, or
                                                                    A cell phone
                                             A monitoring                               a computer terminal
                                                                    comprising:
                                          device, comprising:                              for monitoring
                                                                                               products,
                                                                                         interconnected to a
                                                                                              product for
                                                                                           communication
                                                                                            therebetween,
                                                                                             comprising:

                                                                                          at least one of a
                       CPU: Octa-core
                                                                                         central processing
                         (1x2.84 GHz
                                                                                           unit (CPU) for
                        Cortex-X1 &
                                                                                           executing and
                     3x2.42 GHz Cortex-
                                                                                          carrying out the
 CPU: Octa-core (1   A78 & 4x1.80 GHz
                                                                                          instructions of a
× 2.4 GHz Kryo 475      Cortex-A55) -                            a central processing
                                                                                        computer program,
  Prime & 1 × 2.2         USA/China.                                unit (CPU) for
                                          at least one central                          a network processor
GHz Kryo 475 Gold    Chipset: Qualcomm                              executing and
                                            processing unit                             which is specifically
   & 6 × 1.8 GHz           SM8350                                  carrying out the
                                                (CPU);                                     targeted at the
  Kryo 475 Silver)   Snapdragon 888 5G                             instructions of a
                                                                                             networking
 System-on-a-chip:   (5 nm). OS: Google                          computer program;
                                                                                        application domain,
     Qualcomm             Android 11,
                                                                                           or a front-end
 Snapdragon 765G        upgradable to
                                                                                            processor for
                     Android 13 Modem:
                                                                                          communication
                      Snapdragon® X60
                                                                                           between a host
                       5G Modem-RF
                                                                                        computer and other
                           System.
                                                                                               devices;




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      Ambient
Temperature sensor            Ambient
  supported by the      Temperature sensor
 Android platform.        supported by the           at least one
    Measures the         Android platform.      temperature sensor
    ambient room            Measures the         in communication
                                                                        X   X
   temperature in           ambient room        with the at least one
   degrees Celsius         temperature in       CPU for monitoring
(°C). Monitoring air       degrees Celsius          temperature;
    temperatures.       (°C). Monitoring air
   Monitoring air           temperatures.
    temperatures.




   Gravity sensor          Gravity sensor
 supported by the        supported by the
 Android platform.       Android platform.
                                                 at least one motion
Measures the force      Measures the force
                                                       sensor in
    of gravity in           of gravity in
                                                communication with
m/s2 that is applied    m/s2 that is applied                            X   X
                                                   the at least one
 to a device on all      to a device on all
                                                         CPU;
three physical axes     three physical axes
  (x, y, z). Motion       (x, y, z). Motion
 detection (shake,       detection (shake,
      tilt, etc.).            tilt, etc.).




     Light sensor            Light sensor
  supported by the        supported by the
 Android platform.       Android platform.
                                                at least one viewing
    Measures the            Measures the
                                                      screen for
 ambient light level     ambient light level
                                                    monitoring in
(illumination) in lx.   (illumination) in lx.                           X   X
                                                communication with
 Controlling screen      Controlling screen
                                                   the at least one
brightness. Screen:     brightness. Screen:
                                                        CPU;
   6-inch flexible       6.2 inches flexible
  OLED display at         OLED display at
       432 ppi                 421 ppi




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                                                                        at least one of a
                                                                      satellite connection,
                                                                                              at least one satellite
                                                                            Bluetooth
                                                                                                   connection,
                                                                       connection, WiFi
                                                                                                    Bluetooth
                           Connectivity:                              connection, internet
                                                                                               connection, WiFi
 Connectivity: Wi-         Wi-Fi 802.11                                connection, radio
                                                                                              connection, internet
Fi 5 (a/b/g/n/ac) 2.4    a/b/g/n/ac/6, dual-    at least one global      frequency (RF)
                                                                                               connection, radio
     + 5.0 GHz,         band, Wi-Fi Direct.     positioning system    connection, cellular
                                                                                                 frequency (RF)
Bluetooth 5.0 + LE,        Bluetooth 5.0,      (GPS) connection in         connection,
                                                                                              connection, cellular
     NFC, GPS            A2DP, LE. NFC,        communication with           broadband
                                                                                                   connection,
    (GLONASS,            GPS, GLONASS,            the at least one      connection, long
                                                                                                    broadband
 Galileo, BeiDou),       BDS, GALILEO.                 CPU;                range radio
                                                                                                connection, long
   eSIM capable            Nano-SIM and                                  frequency (RF)
                                                                                                and short-range
                        eSIM or Dual SIM                               connection, short
                                                                                                radio frequency
                                                                           range radio
                                                                                              (RF) connection, or
                                                                         frequency (RF)
                                                                                               GPS connection;
                                                                      connection, or GPS
                                                                           connection;


                                                                                                 wherein the only
                                                                      wherein at least one        type or types of
                           Connectivity:
                                                                            of… WiFi          communication with
 Connectivity: Wi-         Wi-Fi 802.11
                                                 at least one of an   connection, internet      the transmitter and
Fi 5 (a/b/g/n/ac) 2.4    a/b/g/n/ac/6, dual-
                                                internet connection    connection, radio        the receiver of the
     + 5.0 GHz,         band, Wi-Fi Direct.
                                                     or a Wi-Fi          frequency (RF)           communication
Bluetooth 5.0 + LE,        Bluetooth 5.0,
                                                   connection in      connection, cellular           device and
     NFC, GPS            A2DP, LE. NFC,
                                               communication with         connection…           transceivers of the
    (GLONASS,            GPS, GLONASS,
                                                  the at least one      capable of signal     products is a type or
 Galileo, BeiDou),       BDS, GALILEO.
                                                        CPU;          communication with       types selected from
   eSIM capable            Nano-SIM and
                                                                       the transmitter or          the group… of
                        eSIM or Dual SIM
                                                                           the receiver;      satellite, Bluetooth,
                                                                                                       WiFi…


                                                                       at least one of a…
                           Connectivity:
                                                 at least one of a          Bluetooth
 Connectivity: Wi-         Wi-Fi 802.11
                                                     Bluetooth         connection, WiFi
Fi 5 (a/b/g/n/ac) 2.4    a/b/g/n/ac/6, dual-
                                                  connection, a       connection, internet
     + 5.0 GHz,         band, Wi-Fi Direct.
                                               cellular connection,       connection…
Bluetooth 5.0 + LE,        Bluetooth 5.0,
                                                   or a satellite            cellular                  X
     NFC, GPS            A2DP, LE. NFC,
                                                  connection in       connection… short
    (GLONASS,            GPS, GLONASS,
                                               communication with          range radio
 Galileo, BeiDou),       BDS, GALILEO.
                                                 the at least one       frequency (RF)
   eSIM capable            Nano-SIM and
                                                       CPU;           connection, or GPS
                        eSIM or Dual SIM
                                                                           connection;




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                          Google's Android
 Google’s Android
                          operating system
  operating system
                            features a lock
    features a lock
                            mechanism to
     mechanism to
                        secure your phone,       at least one locking
 secure your phone,
                          known as pattern           mechanism in        whereupon the cell
  known as pattern
                          lock. To set, drag    communication with              phone is
  lock. To set, drag
                          your finger along     the at least one CPU       interconnected to
  your finger along
                        lines on the screen.        for locking the          the cell phone
lines on the screen.
                            To unlock the          communication         detection device to
     To unlock the
                           phone, replicate       device, the at least    receive signals or
phone, replicate the
                         the pattern drawn.           one locking        send signals to lock
   pattern drawn. If
                         If you fail to solve         mechanism          or unlock doors, to
you fail to solve the
                            the pattern too        configured to at            activate or
  pattern too many                                                                              X
                           many times, the       least one of engage      deactivate security
   times, the phone
                           phone locks and             (lock) the        systems, to activate
locks and cannot be
                        cannot be unlocked         communication         or deactivate multi-
  unlocked without
                           without logging        device, disengage         sensor detection
   logging into the
                         into the associated         (unlock) the            systems, or to
 associated Google
                           Google account.         communication               activate or
       account.
                                                  device, or disable      deactivate the cell
                           Google Nest ×         (make unavailable)         phone detection
Google Nest × Yale
                            Yale Lock is         the communication               device;
 Lock is connected
                          connected to the               device;
to the Nest app; you
                         Nest app; you can
 can lock or unlock
                        lock or unlock your
your door from your
                          door from your
       phone.
                              phone.



 Pixel phones use                                at least one power
USB-C with USB                                   source comprising
                         Samsung USB-C
2.0 power adapters                                at least one of a
                          Cable lets you
  and cables. To                                 battery, electrical
                        charge your USB-
charge your phone                                  connection, or                 X             X
                        C device as well as
   with a USB-                                  wireless connection,
                         sync your data to
 A power adapter,                               to provide power to
                         your smartphone
  use a USB-C to                                the communication
   USB-A cable.                                        device;




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                                                                                                         wherein the
                                                                                                       communication
                                                                                                    device is equipped
                                                                                                       with a biometric
                                                                               wherein the cell       lock disabler that
  BIOMETRICS:               BIOMETRICS:
                                                                            phone is equipped      incorporates at least
 Biometric factors         Biometric factors
                                                                               with a biometric     one of a fingerprint
  allow for secure          allow for secure
                                                                              lock disabler that     recognition, voice
 authentication on         authentication on             at least one
                                                                           incorporates at least      recognition, face
    the Android               the Android            biometric sensor in
                                                                            one of a fingerprint     recognition, hand
   platform. The             platform. The          communication with
                                                                             recognition, voice        geometry, retina
Android framework         Android framework           the at least once
                                                                              recognition, face      scan, iris scan and
 includes face and         includes face and         CPU for providing
                                                                             recognition, hand      signature such that
     fingerprint               fingerprint                biometric
                                                                               geometry, retina     the communication
      biometric                 biometric             authentication to
                                                                             scan, iris scan, or       device that is at
   authentication.           authentication.              access the
                                                                            signature such that    least one of the cell
  Android can be            Android can be             communication
                                                                               the cell phone is      phone, the smart
   customized to             customized to                 device;
                                                                                 locked by the     phone, the desktop,
support other forms       support other forms
                                                                                biometric lock        the handheld, the
    of biometric              of biometric
                                                                            disabler to prevent     PDA, the laptop or
authentication (such      authentication (such
                                                                             unauthorized use;          the computer
       as Iris).                 as Iris).
                                                                                      and            terminal is locked
                                                                                                       by the biometric
                                                                                                       lock disabler to
                                                                                                           prevent
                                                                                                      unauthorized use


    Android Team              Android Team
   Awareness Kit,            Awareness Kit,
ATAK (built on the         ATAK (built on the
 Android operating         Android operating
                                                                                                   the communication
 system) provides a        system) provides a                              the cell phone is at
                                                                                                    device is at least a
 single interface for      single interface for                                least a fixed,
                                                                                                    fixed, portable or
     viewing and               viewing and                                 portable or mobile
                                                     at least one sensor                                 mobile
controlling different     controlling different                              communication
                                                        for chemical,                                communication
   CBRN-sensing              CBRN-sensing                                         device
                                                        biological, or                                    device
    technologies,             technologies,                                 interconnected to
                                                     human detection in                            interconnected to a
  whether that is a         whether that is a                                 the cell phone
                                                    communication with                              fixed, portable or
       wearable                  wearable                                   detection device,
                                                       the at least one                              mobile product,
   smartwatch that           smartwatch that                               capable of wired or
                                                            CPU;                                   capable of wired or
     measures a                measures a                                        wireless
                                                                                                         wireless
 warfighter’s vitals       warfighter’s vitals                               communication
                                                                                                     communication
(e.g., heart rate) or a   (e.g., heart rate) or a                          therebetween; and
                                                                                                     therebetween…
 device mounted on         device mounted on
  a drone to detect         a drone to detect
  chemical warfare          chemical warfare
        agents.                   agents




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    Android Team
                            Android Team
   Awareness Kit,
                            Awareness Kit,
ATAK (built on the
                         ATAK (built on the
 Android operating
                          Android operating
 system) is a digital
                         system) is a digital
      application
                              application
      available to
                              available to
      warfighters
                              warfighters                                   at least one of a
    throughout the
                            throughout the           one or more          chemical sensor, a          wherein the
DoD. ATAK offers
                         DoD. ATAK offers            detectors in        biological sensor, an     communication
      warfighters
                              warfighters       communication with        explosive sensor, a     device receives a
geospatial mapping
                         geospatial mapping     the at least one CPU        human sensor, a        signal via any of
     for situational
                             for situational    for detecting at least    contraband sensor,         one or more
  awareness during
                          awareness during        one of chemical,          or a radiological     products listed in
  combat — on an
                           combat — on an             biological,          sensor capable of     any of the plurality
   end-user device
                           end-user device         radiological, or          being disposed      of product grouping
        such as a
                                such as a         explosive agents;       within, on, upon or         categories;
   smartphone or a
                           smartphone or a                                  adjacent the cell
      tablet. With
                        tablet. With DTRA’s                                      phone;
        DTRA’s
                         contribution, ATAK
contribution, ATAK
                             now includes
     now includes
                               chemical,
       chemical,
                               biological,
       biological,
                          radiological, and
  radiological, and
                           nuclear (CBRN)
  nuclear (CBRN)
                                plug-ins.
        plug-ins.




                           Connectivity:
 Connectivity: Wi-         Wi-Fi 802.11
                                                  at least one radio-
Fi 5 (a/b/g/n/ac) 2.4    a/b/g/n/ac/6, dual-
                                                frequency near-field
     + 5.0 GHz,         band, Wi-Fi Direct.
                                                   communication
Bluetooth 5.0 + LE,        Bluetooth 5.0,
                                                (NFC) connection in               X                       X
     NFC, GPS            A2DP, LE. NFC,
                                                communication with
    (GLONASS,            GPS, GLONASS,
                                                   the at least one
 Galileo, BeiDou),       BDS, GALILEO.
                                                        CPU…
   eSIM capable            Nano-SIM and
                        eSIM or Dual SIM




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                                                                                                    a transmitter for
                                                   at least one of a
                                                                                                  transmitting signals
                                                   transmitter or a
                                                                                                   and messages to at
                                                    transceiver in
                                                                                                 least one of plurality
                                                communication with
                                                                                                     product groups
                                                the at least one CPU
                                                                                                      based on the
                                                 configured to send
Google Nest × Yale      Google Nest × Yale                                                           categories of a
                                                signals to monitor at
 Lock is connected       Lock is connected                                                            multi-sensor
                                                 least one of a door,
to the Nest app; you    to the Nest app; you                                                       detection device, a
                                                    a vehicle, or a
 can lock or unlock      can lock or unlock                                                          maritime cargo
                                                    building, send
your door from your     your door from your                                                         container, a cell
                                                  signals to lock or        a transmitter for
       phone.                  phone.                                                               phone detection
                                                 unlock doors, send      transmitting signals
                                                                                                  device, or a locking
                                                  signals to control       and messages to a
   Android Team            Android Team                                                                  device;
                                                  components of a        cell phone detection
   Awareness Kit,          Awareness Kit,
                                                vehicle, send signals      device; a receiver
ATAK (built on the      ATAK (built on the                                                           a receiver for
                                                       to control        for receiving signals
 Android operating       Android operating                                                        receiving signals,
                                                  components of a         from the cell phone
 system) provides a      system) provides a                                                        data or messages
                                                    building, or…           detection device;
 single interface for    single interface for                                                    from at least one of
                                                detect at least one of
    viewing and             viewing and                                                            plurality product
                                                      a chemical
controlling different   controlling different                                                    groups based on the
                                                 biological… agent
   CBRN-sensing            CBRN-sensing                                                             categories of a
                                                     such that the
    technologies            technologies                                                             multi-sensor
                                                   communication
                                                                                                 detection device, a
                                                device is capable of
                                                                                                    maritime cargo
                                                   communicating,
                                                                                                   container, a cell
                                                     monitoring,
                                                                                                   phone detection
                                                    detecting, and
                                                                                                 device, or a locking
                                                      controlling.
                                                                                                        device;

                                                                                                     whereupon the
Google Nest × Yale      Google Nest × Yale
                                                                                                    communication
 Lock is connected       Lock is connected
                                                                                                       device, is
to the Nest app; you    to the Nest app; you
                                                                                                  interconnected to a
 can lock or unlock      can lock or unlock
                                                                                                 product equipped to
your door from your     your door from your
                                                                                                 receive signals from
       phone.                  phone.
                                                                                                   or send signals to
                                                                                                     lock or unlock
   Android Team            Android Team
                                                                                                   doors, activate or
   Awareness Kit,          Awareness Kit,                 X                       X
                                                                                                  deactivate security
ATAK (built on the      ATAK (built on the
                                                                                                 systems, activate or
 Android operating       Android operating
                                                                                                   deactivate multi-
 system) provides a      system) provides a
                                                                                                    sensor detection
 single interface for    single interface for
                                                                                                     systems, or to
    viewing and             viewing and
                                                                                                       activate or
controlling different   controlling different
                                                                                                     deactivate cell
   CBRN-sensing            CBRN-sensing
                                                                                                    phone detection
    technologies            technologies
                                                                                                        systems




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    Android Team
                            Android Team
   Awareness Kit,
                            Awareness Kit,
ATAK (built on the
                         ATAK (built on the                                  wherein at least one
 Android operating
                          Android operating                                  satellite connection,
 system) is a digital
                         system) is a digital                                      Bluetooth
      application
                              application                                      connection, WiFi
      available to
                              available to                                   connection, internet
      warfighters
                              warfighters                                      connection, radio
    throughout the
                            throughout the                                      frequency (RF)
DoD. ATAK offers
                         DoD. ATAK offers               a transmitter for    connection, cellular
      warfighters
                              warfighters            transmitting signals         connection,
geospatial mapping
                         geospatial mapping            and messages to a           broadband
     for situational
                             for situational         cell phone detection    connection… short
  awareness during                              X
                          awareness during             device; a receiver         range radio
  combat — on an
                           combat — on an            for receiving signals      frequency (RF)
   end-user device
                           end-user device            from the cell phone        connection is
        such as a
                                such as a               detection device;      capable of signal
   smartphone or a
                           smartphone or a                                   communication with
      tablet. With
                        tablet. With DTRA’s                                   the transmitter and
        DTRA’s
                         contribution, ATAK                                   the receiver of the
contribution, ATAK
                             now includes                                       communication
     now includes
                               chemical,                                           device and
       chemical,
                               biological,                                    transceivers of the
       biological,
                          radiological, and                                         products;
  radiological, and
                           nuclear (CBRN)
  nuclear (CBRN)
                                plug-ins.
        plug-ins.
    Android Team
                            Android Team
   Awareness Kit,
                            Awareness Kit,
ATAK (built on the
                         ATAK (built on the
 Android operating
                          Android operating
 system) is a digital                                 whereupon a signal
                         system) is a digital
      application                                     sent to the receiver
                              application
      available to                                      of the cell phone
                              available to
      warfighters                                       detection device
                              warfighters
    throughout the                                    from at least one of
                            throughout the
DoD. ATAK offers                                     the chemical sensor,
                         DoD. ATAK offers
      warfighters                                         the biological
                              warfighters
geospatial mapping                                          sensor, the
                         geospatial mapping
     for situational                                    explosive sensor,
                             for situational
  awareness during                              X      the human sensor,              X
                          awareness during
  combat — on an                                         the contraband
                           combat — on an
   end-user device                                        sensor, or the
                           end-user device
        such as a                                     radiological sensor,
                                such as a
   smartphone or a                                    causes a signal that
                           smartphone or a
      tablet. With                                   includes at least one
                        tablet. With DTRA’s
        DTRA’s                                         of location data or
                         contribution, ATAK
contribution, ATAK                                      sensor data to be
                             now includes
     now includes                                        sent to the cell
                               chemical,
       chemical,                                              phone.
                               biological,
       biological,
                          radiological, and
  radiological, and
                           nuclear (CBRN)
  nuclear (CBRN)
                                plug-ins.
        plug-ins.


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                     Exhibit F




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 CLAIM CHART FOR THE SMARTPHONE COMPARISON BETWEEN
THE GOOGLE PIXEL 5 AND LG V60 ThinQ 5G. THE GOOGLE PIXEL 5
 SPECIFICATIONS AND THE PATENT CLAIMS’ LIMITATIONS FOR
   THE ‘287, ‘439, & ‘189 PATENTS ARE THE SAME AS IN LARRY
        GOLDEN v. GOOGLE LLC; CAFC CASE NO. 22-1267


                                              Patent #:              Patent #:              Patent #:
 Google Pixel 5                              10,163,287;            9,589,439;             9,096,189;
                     LG V60 ThinQ 5G
  Smartphone                                Independent            Independent            Independent
                                              Claim 5                Claim 23               Claim 1

                                                                                          A communication
                                                                                          device of at least
                                                                                        one of a cell phone,
                                                                                          a smart phone, a
                                                                                        desktop, a handheld,
                                                                                        a PDA, a laptop, or
                                                                    A cell phone
                                             A monitoring                               a computer terminal
                                                                    comprising:
                                          device, comprising:                              for monitoring
                                                                                               products,
                                                                                         interconnected to a
                                                                                              product for
                                                                                           communication
                                                                                            therebetween,
                                                                                             comprising:

                                                                                          at least one of a
                     Chipset: Qualcomm                                                   central processing
                           SM8250                                                          unit (CPU) for
                     Snapdragon 865 5G                                                     executing and
                       (7 nm+). CPU:                                                      carrying out the
 CPU: Octa-core (1
                      Octa-core (1x2.84                                                   instructions of a
× 2.4 GHz Kryo 475                                               a central processing
                     GHz Cortex-A77 &                                                   computer program,
  Prime & 1 × 2.2                                                   unit (CPU) for
                     3x2.42 GHz Cortex-   at least one central                          a network processor
GHz Kryo 475 Gold                                                   executing and
                     A77 & 4x1.80 GHz       processing unit                             which is specifically
   & 6 × 1.8 GHz                                                   carrying out the
                      Cortex-A55). OS:          (CPU);                                     targeted at the
  Kryo 475 Silver)                                                 instructions of a
                     Google Android 10,                                                      networking
 System-on-a-chip:                                               computer program;
                        upgradable to                                                   application domain,
     Qualcomm
                         Android 13                                                        or a front-end
 Snapdragon 765G
                          Modem:                                                            processor for
                        Qualcomm’s                                                        communication
                      Snapdragon X55                                                       between a host
                         5G modem                                                       computer and other
                                                                                               devices;




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      Ambient
Temperature sensor            Ambient
  supported by the      Temperature sensor
 Android platform.        supported by the           at least one
    Measures the         Android platform.      temperature sensor
    ambient room            Measures the         in communication
                                                                        X   X
   temperature in           ambient room        with the at least one
   degrees Celsius         temperature in       CPU for monitoring
(°C). Monitoring air       degrees Celsius          temperature;
    temperatures.       (°C). Monitoring air
   Monitoring air           temperatures
    temperatures.




   Gravity sensor          Gravity sensor
 supported by the        supported by the
 Android platform.       Android platform.
                                                 at least one motion
Measures the force      Measures the force
                                                       sensor in
    of gravity in           of gravity in
                                                communication with
m/s2 that is applied    m/s2 that is applied                            X   X
                                                   the at least one
 to a device on all      to a device on all
                                                         CPU;
three physical axes     three physical axes
  (x, y, z). Motion       (x, y, z). Motion
 detection (shake,       detection (shake,
      tilt, etc.).            tilt, etc.).




     Light sensor            Light sensor
  supported by the        supported by the
 Android platform.       Android platform.
                                                at least one viewing
    Measures the            Measures the
                                                      screen for
 ambient light level     ambient light level
                                                    monitoring in
(illumination) in lx.   (illumination) in lx.                           X   X
                                                communication with
 Controlling screen      Controlling screen
                                                   the at least one
brightness. Screen:     brightness. Screen:
                                                        CPU;
   6-inch flexible        6.8 inches, 109.8
  OLED display at       cm2 OLED display
       432 ppi           at 395 ppi density




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                                                                        at least one of a
                                                                      satellite connection,
                                                                                              at least one satellite
                                                                            Bluetooth
                        Connectivity: Wi-Fi                                                        connection,
                                                                       connection, WiFi
                        802.11 a/b/g/n/ac/6,                                                        Bluetooth
                                                                      connection, internet
                         dual-band, Wi-Fi                                                      connection, WiFi
 Connectivity: Wi-                                                     connection, radio
                          Direct, DLNA.                                                       connection, internet
Fi 5 (a/b/g/n/ac) 2.4                           at least one global      frequency (RF)
                           Bluetooth 5.1,                                                      connection, radio
     + 5.0 GHz,                                 positioning system    connection, cellular
                         A2DP, LE, aptX                                                          frequency (RF)
Bluetooth 5.0 + LE,                            (GPS) connection in         connection,
                          HD. NFC, GPS,                                                       connection, cellular
     NFC, GPS                                  communication with           broadband
                         GPS, GLONASS,                                                             connection,
    (GLONASS,                                     the at least one      connection, long
                           Galileo, BDS.                                                            broadband
 Galileo, BeiDou),                                     CPU;                range radio
                        Single SIM (Nano-                                                       connection, long
   eSIM capable                                                          frequency (RF)
                          SIM) or Hybrid                                                        and short-range
                                                                       connection, short
                         Dual SIM (Nano-                                                        radio frequency
                                                                           range radio
                        SIM, dual stand-by)                                                   (RF) connection, or
                                                                         frequency (RF)
                                                                                               GPS connection;
                                                                      connection, or GPS
                                                                           connection;


                        Connectivity: Wi-Fi                                                      wherein the only
                        802.11 a/b/g/n/ac/6,                          wherein at least one        type or types of
                         dual-band, Wi-Fi                                   of… WiFi          communication with
 Connectivity: Wi-
                          Direct, DLNA.          at least one of an   connection, internet      the transmitter and
Fi 5 (a/b/g/n/ac) 2.4
                           Bluetooth 5.1,       internet connection    connection, radio        the receiver of the
     + 5.0 GHz,
                         A2DP, LE, aptX              or a Wi-Fi          frequency (RF)           communication
Bluetooth 5.0 + LE,
                          HD. NFC, GPS,            connection in      connection, cellular           device and
     NFC, GPS
                         GPS, GLONASS,         communication with         connection…           transceivers of the
    (GLONASS,
                           Galileo, BDS.          the at least one      capable of signal     products is a type or
 Galileo, BeiDou),
                        Single SIM (Nano-               CPU;          communication with       types selected from
   eSIM capable
                          SIM) or Hybrid                               the transmitter or          the group… of
                         Dual SIM (Nano-                                   the receiver;      satellite, Bluetooth,
                        SIM, dual stand-by)                                                            WiFi…



                        Connectivity: Wi-Fi
                        802.11 a/b/g/n/ac/6,                           at least one of a…
                         dual-band, Wi-Fi        at least one of a          Bluetooth
 Connectivity: Wi-
                          Direct, DLNA.              Bluetooth         connection, WiFi
Fi 5 (a/b/g/n/ac) 2.4
                           Bluetooth 5.1,         connection, a       connection, internet
     + 5.0 GHz,
                         A2DP, LE, aptX        cellular connection,       connection…
Bluetooth 5.0 + LE,
                          HD. NFC, GPS,            or a satellite            cellular                  X
     NFC, GPS
                         GPS, GLONASS,            connection in       connection… short
    (GLONASS,
                           Galileo, BDS.       communication with          range radio
 Galileo, BeiDou),
                        Single SIM (Nano-        the at least one       frequency (RF)
   eSIM capable
                          SIM) or Hybrid               CPU;           connection, or GPS
                         Dual SIM (Nano-                                   connection;
                        SIM, dual stand-by)




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                          Google's Android
 Google’s Android
                          operating system
  operating system
                            features a lock
    features a lock
                            mechanism to
     mechanism to
                        secure your phone,       at least one locking
 secure your phone,
                          known as pattern           mechanism in        whereupon the cell
  known as pattern
                          lock. To set, drag    communication with             phone is
  lock. To set, drag
                          your finger along     the at least one CPU      interconnected to
  your finger along
                        lines on the screen.        for locking the         the cell phone
lines on the screen.
                            To unlock the          communication         detection device to
     To unlock the
                           phone, replicate       device, the at least    receive signals or
phone, replicate the
                         the pattern drawn.           one locking        send signals to lock
   pattern drawn. If
                         If you fail to solve         mechanism          or unlock doors, to
you fail to solve the
                            the pattern too        configured to at           activate or
  pattern too many                                                                              X
                           many times, the       least one of engage     deactivate security
   times, the phone
                           phone locks and             (lock) the        systems, to activate
locks and cannot be
                        cannot be unlocked         communication         or deactivate multi-
  unlocked without
                           without logging        device, disengage        sensor detection
   logging into the
                         into the associated         (unlock) the           systems, or to
 associated Google
                           Google account.         communication              activate or
       account.
                                                  device, or disable      deactivate the cell
                           Google Nest ×         (make unavailable)        phone detection
Google Nest × Yale
                            Yale Lock is         the communication              device;
 Lock is connected
                          connected to the               device;
to the Nest app; you
                         Nest app; you can
 can lock or unlock
                        lock or unlock your
your door from your
                          door from your
       phone.
                              phone.



 Pixel phones use                                at least one power
                         UrbanX USB-C to
USB-C with USB                                   source comprising
                         USB 3.1 Adapter,
2.0 power adapters                                at least one of a
                          USB-C Male to
  and cables. To                                 battery, electrical
                          USB-A Female,
charge your phone                                  connection, or                 X             X
                          Uses USB OTG
   with a USB-                                  wireless connection,
                           Technology,
 A power adapter,                               to provide power to
                        Compatible with LG
  use a USB-C to                                the communication
                          V60 ThinQ 5G
   USB-A cable.                                        device;




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                                                                                                         wherein the
                                                                                                       communication
                                                                                                    device is equipped
                                                                                                       with a biometric
                                                                               wherein the cell       lock disabler that
  BIOMETRICS:               BIOMETRICS:
                                                                            phone is equipped      incorporates at least
 Biometric factors         Biometric factors
                                                                               with a biometric     one of a fingerprint
  allow for secure          allow for secure
                                                                              lock disabler that     recognition, voice
 authentication on         authentication on             at least one
                                                                           incorporates at least      recognition, face
    the Android               the Android            biometric sensor in
                                                                            one of a fingerprint     recognition, hand
   platform. The             platform. The          communication with
                                                                             recognition, voice        geometry, retina
Android framework         Android framework           the at least once
                                                                              recognition, face      scan, iris scan and
 includes face and         includes face and         CPU for providing
                                                                             recognition, hand      signature such that
     fingerprint               fingerprint                biometric
                                                                               geometry, retina     the communication
      biometric                 biometric             authentication to
                                                                             scan, iris scan, or       device that is at
   authentication.           authentication.              access the
                                                                            signature such that    least one of the cell
  Android can be            Android can be             communication
                                                                               the cell phone is      phone, the smart
   customized to             customized to                 device;
                                                                                 locked by the     phone, the desktop,
support other forms       support other forms
                                                                                biometric lock        the handheld, the
    of biometric              of biometric
                                                                            disabler to prevent     PDA, the laptop or
authentication (such      authentication (such
                                                                             unauthorized use;          the computer
       as Iris).                 as Iris).
                                                                                      and            terminal is locked
                                                                                                       by the biometric
                                                                                                       lock disabler to
                                                                                                           prevent
                                                                                                      unauthorized use


    Android Team              Android Team
   Awareness Kit,            Awareness Kit,
ATAK (built on the         ATAK (built on the
 Android operating         Android operating
                                                                                                   the communication
 system) provides a        system) provides a                              the cell phone is at
                                                                                                    device is at least a
 single interface for      single interface for                                least a fixed,
                                                                                                    fixed, portable or
     viewing and               viewing and                                 portable or mobile
                                                     at least one sensor                                 mobile
controlling different     controlling different                              communication
                                                        for chemical,                                communication
   CBRN-sensing              CBRN-sensing                                         device
                                                        biological, or                                    device
    technologies,             technologies,                                 interconnected to
                                                     human detection in                            interconnected to a
  whether that is a         whether that is a                                 the cell phone
                                                    communication with                              fixed, portable or
       wearable                  wearable                                   detection device,
                                                       the at least one                              mobile product,
   smartwatch that           smartwatch that                               capable of wired or
                                                            CPU;                                   capable of wired or
     measures a                measures a                                        wireless
                                                                                                         wireless
 warfighter’s vitals       warfighter’s vitals                               communication
                                                                                                     communication
(e.g., heart rate) or a   (e.g., heart rate) or a                          therebetween; and
                                                                                                     therebetween…
 device mounted on         device mounted on
  a drone to detect         a drone to detect
  chemical warfare          chemical warfare
        agents.                   agents




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    Android Team
                            Android Team
   Awareness Kit,
                            Awareness Kit,
ATAK (built on the
                         ATAK (built on the
 Android operating
                          Android operating
 system) is a digital
                         system) is a digital
      application
                              application
      available to
                              available to
      warfighters
                              warfighters                                   at least one of a
    throughout the
                            throughout the           one or more          chemical sensor, a          wherein the
DoD. ATAK offers
                         DoD. ATAK offers            detectors in        biological sensor, an     communication
      warfighters
                              warfighters       communication with        explosive sensor, a     device receives a
geospatial mapping
                         geospatial mapping     the at least one CPU        human sensor, a        signal via any of
     for situational
                             for situational    for detecting at least    contraband sensor,         one or more
  awareness during
                          awareness during        one of chemical,          or a radiological     products listed in
  combat — on an
                           combat — on an             biological,          sensor capable of     any of the plurality
   end-user device
                           end-user device         radiological, or          being disposed      of product grouping
        such as a
                                such as a         explosive agents;       within, on, upon or         categories;
   smartphone or a
                           smartphone or a                                  adjacent the cell
      tablet. With
                        tablet. With DTRA’s                                      phone;
        DTRA’s
                         contribution, ATAK
contribution, ATAK
                             now includes
     now includes
                               chemical,
       chemical,
                               biological,
       biological,
                          radiological, and
  radiological, and
                           nuclear (CBRN)
  nuclear (CBRN)
                                plug-ins.
        plug-ins.




                        Connectivity: Wi-Fi
                        802.11 a/b/g/n/ac/6,
                         dual-band, Wi-Fi
 Connectivity: Wi-
                          Direct, DLNA.           at least one radio-
Fi 5 (a/b/g/n/ac) 2.4
                           Bluetooth 5.1,       frequency near-field
     + 5.0 GHz,
                         A2DP, LE, aptX            communication
Bluetooth 5.0 + LE,
                          HD. NFC, GPS,         (NFC) connection in               X                       X
     NFC, GPS
                         GPS, GLONASS,          communication with
    (GLONASS,
                           Galileo, BDS.           the at least one
 Galileo, BeiDou),
                        Single SIM (Nano-               CPU…
   eSIM capable
                          SIM) or Hybrid
                         Dual SIM (Nano-
                        SIM, dual stand-by)




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                                                                                                    a transmitter for
                                                   at least one of a
                                                                                                  transmitting signals
                                                   transmitter or a
                                                                                                   and messages to at
                                                    transceiver in
                                                                                                 least one of plurality
                                                communication with
                                                                                                     product groups
                                                the at least one CPU
                                                                                                      based on the
                                                 configured to send
Google Nest × Yale      Google Nest × Yale                                                           categories of a
                                                signals to monitor at
 Lock is connected       Lock is connected                                                            multi-sensor
                                                 least one of a door,
to the Nest app; you    to the Nest app; you                                                       detection device, a
                                                    a vehicle, or a
 can lock or unlock      can lock or unlock                                                          maritime cargo
                                                    building, send
your door from your     your door from your                                                         container, a cell
                                                  signals to lock or        a transmitter for
       phone.                  phone.                                                               phone detection
                                                 unlock doors, send      transmitting signals
                                                                                                  device, or a locking
                                                  signals to control       and messages to a
   Android Team            Android Team                                                                  device;
                                                  components of a        cell phone detection
   Awareness Kit,          Awareness Kit,
                                                vehicle, send signals      device; a receiver
ATAK (built on the      ATAK (built on the                                                           a receiver for
                                                       to control        for receiving signals
 Android operating       Android operating                                                        receiving signals,
                                                  components of a         from the cell phone
 system) provides a      system) provides a                                                        data or messages
                                                    building, or…           detection device;
 single interface for    single interface for                                                    from at least one of
                                                detect at least one of
    viewing and             viewing and                                                            plurality product
                                                      a chemical
controlling different   controlling different                                                    groups based on the
                                                 biological… agent
   CBRN-sensing            CBRN-sensing                                                             categories of a
                                                     such that the
    technologies            technologies                                                             multi-sensor
                                                   communication
                                                                                                 detection device, a
                                                device is capable of
                                                                                                    maritime cargo
                                                   communicating,
                                                                                                   container, a cell
                                                     monitoring,
                                                                                                   phone detection
                                                    detecting, and
                                                                                                 device, or a locking
                                                      controlling.
                                                                                                        device;

                                                                                                     whereupon the
Google Nest × Yale      Google Nest × Yale
                                                                                                    communication
 Lock is connected       Lock is connected
                                                                                                       device, is
to the Nest app; you    to the Nest app; you
                                                                                                  interconnected to a
 can lock or unlock      can lock or unlock
                                                                                                 product equipped to
your door from your     your door from your
                                                                                                 receive signals from
       phone.                  phone.
                                                                                                   or send signals to
                                                                                                     lock or unlock
   Android Team            Android Team
                                                                                                   doors, activate or
   Awareness Kit,          Awareness Kit,                 X                       X
                                                                                                  deactivate security
ATAK (built on the      ATAK (built on the
                                                                                                 systems, activate or
 Android operating       Android operating
                                                                                                   deactivate multi-
 system) provides a      system) provides a
                                                                                                    sensor detection
 single interface for    single interface for
                                                                                                     systems, or to
    viewing and             viewing and
                                                                                                       activate or
controlling different   controlling different
                                                                                                     deactivate cell
   CBRN-sensing            CBRN-sensing
                                                                                                    phone detection
    technologies            technologies
                                                                                                        systems




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    Android Team
                            Android Team
   Awareness Kit,
                            Awareness Kit,
ATAK (built on the
                         ATAK (built on the                                  wherein at least one
 Android operating
                          Android operating                                  satellite connection,
 system) is a digital
                         system) is a digital                                      Bluetooth
      application
                              application                                      connection, WiFi
      available to
                              available to                                   connection, internet
      warfighters
                              warfighters                                      connection, radio
    throughout the
                            throughout the                                      frequency (RF)
DoD. ATAK offers
                         DoD. ATAK offers               a transmitter for    connection, cellular
      warfighters
                              warfighters            transmitting signals         connection,
geospatial mapping
                         geospatial mapping            and messages to a           broadband
     for situational
                             for situational         cell phone detection    connection… short
  awareness during                              X
                          awareness during             device; a receiver         range radio
  combat — on an
                           combat — on an            for receiving signals      frequency (RF)
   end-user device
                           end-user device            from the cell phone        connection is
        such as a
                                such as a               detection device;      capable of signal
   smartphone or a
                           smartphone or a                                   communication with
      tablet. With
                        tablet. With DTRA’s                                   the transmitter and
        DTRA’s
                         contribution, ATAK                                   the receiver of the
contribution, ATAK
                             now includes                                       communication
     now includes
                               chemical,                                           device and
       chemical,
                               biological,                                    transceivers of the
       biological,
                          radiological, and                                         products;
  radiological, and
                           nuclear (CBRN)
  nuclear (CBRN)
                                plug-ins.
        plug-ins.
    Android Team
                            Android Team
   Awareness Kit,
                            Awareness Kit,
ATAK (built on the
                         ATAK (built on the
 Android operating
                          Android operating
 system) is a digital                                 whereupon a signal
                         system) is a digital
      application                                     sent to the receiver
                              application
      available to                                      of the cell phone
                              available to
      warfighters                                       detection device
                              warfighters
    throughout the                                    from at least one of
                            throughout the
DoD. ATAK offers                                     the chemical sensor,
                         DoD. ATAK offers
      warfighters                                         the biological
                              warfighters
geospatial mapping                                          sensor, the
                         geospatial mapping
     for situational                                    explosive sensor,
                             for situational
  awareness during                              X      the human sensor,              X
                          awareness during
  combat — on an                                         the contraband
                           combat — on an
   end-user device                                        sensor, or the
                           end-user device
        such as a                                     radiological sensor,
                                such as a
   smartphone or a                                    causes a signal that
                           smartphone or a
      tablet. With                                   includes at least one
                        tablet. With DTRA’s
        DTRA’s                                         of location data or
                         contribution, ATAK
contribution, ATAK                                      sensor data to be
                             now includes
     now includes                                        sent to the cell
                               chemical,
       chemical,                                              phone.
                               biological,
       biological,
                          radiological, and
  radiological, and
                           nuclear (CBRN)
  nuclear (CBRN)
                                plug-ins.
        plug-ins.


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                    Exhibit G




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 CLAIM CHART FOR THE SMARTPHONE COMPARISON BETWEEN
THE GOOGLE PIXEL 5 AND THE ASUS / QUALCOMM. THE GOOGLE
PIXEL 5 SPECIFICATIONS AND THE PATENT CLAIMS’ LIMITATIONS
  FOR THE ‘287, ‘439, & ‘189 PATENTS ARE THE SAME AS IN LARRY
         GOLDEN v. GOOGLE LLC; CAFC CASE NO. 22-1267


                         Asus /
                                              Patent #:              Patent #:              Patent #:
                       Qualcomm
 Google Pixel 5                              10,163,287;            9,589,439;             9,096,189;
                     Smartphone for
  Smartphone                                Independent            Independent            Independent
                      Snapdragon
                                              Claim 5                Claim 23               Claim 1
                        Insiders
                                                                                          A communication
                                                                                          device of at least
                                                                                        one of a cell phone,
                                                                                          a smart phone, a
                                                                                        desktop, a handheld,
                                                                                        a PDA, a laptop, or
                                                                    A cell phone
                                             A monitoring                               a computer terminal
                                                                    comprising:
                                          device, comprising:                              for monitoring
                                                                                               products,
                                                                                         interconnected to a
                                                                                              product for
                                                                                           communication
                                                                                            therebetween,
                                                                                             comprising:

                                                                                          at least one of a
                                                                                         central processing
                          Chipset:                                                         unit (CPU) for
                     Qualcomm SM8350                                                       executing and
                     Snapdragon 888 5G                                                    carrying out the
 CPU: Octa-core (1
                     (5 nm) CPU: Octa-                                                    instructions of a
× 2.4 GHz Kryo 475                                               a central processing
                      core (1x2.84 GHz                                                  computer program,
  Prime & 1 × 2.2                                                   unit (CPU) for
                        Cortex-X1 &       at least one central                          a network processor
GHz Kryo 475 Gold                                                   executing and
                     3x2.42 GHz Cortex-     processing unit                             which is specifically
   & 6 × 1.8 GHz                                                   carrying out the
                     A78 & 4x1.80 GHz           (CPU);                                     targeted at the
  Kryo 475 Silver)                                                 instructions of a
                      Cortex-A55). OS:                                                       networking
 System-on-a-chip:                                               computer program;
                     Google Android 11.                                                 application domain,
     Qualcomm
                          Modem:                                                           or a front-end
 Snapdragon 765G
                      Snapdragon® X60                                                       processor for
                       5G Modem-RF                                                        communication
                           System.                                                         between a host
                                                                                        computer and other
                                                                                               devices;




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      Ambient
Temperature sensor            Ambient
  supported by the      Temperature sensor
 Android platform.        supported by the           at least one
    Measures the         Android platform.      temperature sensor
    ambient room            Measures the         in communication
                                                                        X   X
   temperature in           ambient room        with the at least one
   degrees Celsius         temperature in       CPU for monitoring
(°C). Monitoring air       degrees Celsius          temperature;
    temperatures.       (°C). Monitoring air
   Monitoring air           temperatures.
    temperatures.




   Gravity sensor          Gravity sensor
 supported by the        supported by the
 Android platform.       Android platform.
                                                 at least one motion
Measures the force      Measures the force
                                                       sensor in
    of gravity in           of gravity in
                                                communication with
m/s2 that is applied    m/s2 that is applied                            X   X
                                                   the at least one
 to a device on all      to a device on all
                                                         CPU;
three physical axes     three physical axes
  (x, y, z). Motion       (x, y, z). Motion
 detection (shake,       detection (shake,
      tilt, etc.).            tilt, etc.).




     Light sensor            Light sensor
  supported by the        supported by the
 Android platform.       Android platform.
                                                at least one viewing
    Measures the            Measures the
                                                      screen for
 ambient light level     ambient light level
                                                    monitoring in
(illumination) in lx.   (illumination) in lx.                           X   X
                                                communication with
 Controlling screen      Controlling screen
                                                   the at least one
brightness. Screen:     brightness. Screen:
                                                        CPU;
   6-inch flexible       6.78 inches, 109.5
  OLED display at        cm2 OLED display
       432 ppi           at 395 ppi density




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                                                                       at least one of a
                                                                     satellite connection,
                                                                                             at least one satellite
                                                                           Bluetooth
                                                                                                  connection,
                        Connectivity: Wi-Fi                           connection, WiFi
                                                                                                   Bluetooth
                         802.11 a/b/g/n/ac/                          connection, internet
                                                                                              connection, WiFi
 Connectivity: Wi-      6e, dual-band, Wi-                            connection, radio
                                                                                             connection, internet
Fi 5 (a/b/g/n/ac) 2.4    Fi Dir. Bluetooth:    at least one global      frequency (RF)
                                                                                              connection, radio
     + 5.0 GHz,           5.2, A2DP, LE,       positioning system    connection, cellular
                                                                                                frequency (RF)
Bluetooth 5.0 + LE,       aptX HD, aptX       (GPS) connection in         connection,
                                                                                             connection, cellular
     NFC, GPS             Adaptive. NFC,      communication with           broadband
                                                                                                  connection,
    (GLONASS,            GPS, GLONASS,           the at least one      connection, long
                                                                                                   broadband
 Galileo, BeiDou),         BDS, Galileo,              CPU;                range radio
                                                                                               connection, long
   eSIM capable          QZSS, Dual SIM                                 frequency (RF)
                                                                                               and short-range
                         (Nano-SIM, dual                              connection, short
                                                                                               radio frequency
                             stand-by)                                    range radio
                                                                                             (RF) connection, or
                                                                        frequency (RF)
                                                                                              GPS connection;
                                                                     connection, or GPS
                                                                          connection;


                                                                                                wherein the only
                        Connectivity: Wi-Fi
                                                                     wherein at least one        type or types of
                         802.11 a/b/g/n/ac/
                                                                           of… WiFi          communication with
 Connectivity: Wi-      6e, dual-band, Wi-
                                                at least one of an   connection, internet      the transmitter and
Fi 5 (a/b/g/n/ac) 2.4    Fi Dir. Bluetooth:
                                               internet connection    connection, radio        the receiver of the
     + 5.0 GHz,           5.2, A2DP, LE,
                                                    or a Wi-Fi          frequency (RF)           communication
Bluetooth 5.0 + LE,       aptX HD, aptX
                                                  connection in      connection, cellular           device and
     NFC, GPS             Adaptive. NFC,
                                              communication with         connection…           transceivers of the
    (GLONASS,            GPS, GLONASS,
                                                 the at least one      capable of signal     products is a type or
 Galileo, BeiDou),         BDS, Galileo,
                                                       CPU;          communication with       types selected from
   eSIM capable          QZSS, Dual SIM
                                                                      the transmitter or          the group… of
                         (Nano-SIM, dual
                                                                          the receiver;      satellite, Bluetooth,
                             stand-by)
                                                                                                      WiFi…



                        Connectivity: Wi-Fi
                                                                      at least one of a…
                         802.11 a/b/g/n/ac/
                                                at least one of a          Bluetooth
 Connectivity: Wi-      6e, dual-band, Wi-
                                                    Bluetooth         connection, WiFi
Fi 5 (a/b/g/n/ac) 2.4    Fi Dir. Bluetooth:
                                                 connection, a       connection, internet
     + 5.0 GHz,           5.2, A2DP, LE,
                                              cellular connection,       connection…
Bluetooth 5.0 + LE,       aptX HD, aptX
                                                  or a satellite            cellular                  X
     NFC, GPS             Adaptive. NFC,
                                                 connection in       connection… short
    (GLONASS,            GPS, GLONASS,
                                              communication with          range radio
 Galileo, BeiDou),         BDS, Galileo,
                                                the at least one       frequency (RF)
   eSIM capable          QZSS, Dual SIM
                                                      CPU;           connection, or GPS
                         (Nano-SIM, dual
                                                                          connection;
                             stand-by)




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                          Google's Android
 Google’s Android
                          operating system
  operating system
                            features a lock
    features a lock
                            mechanism to
     mechanism to
                        secure your phone,       at least one locking
 secure your phone,
                          known as pattern           mechanism in        whereupon the cell
  known as pattern
                          lock. To set, drag    communication with             phone is
  lock. To set, drag
                          your finger along     the at least one CPU      interconnected to
  your finger along
                        lines on the screen.        for locking the         the cell phone
lines on the screen.
                            To unlock the          communication         detection device to
     To unlock the
                           phone, replicate       device, the at least    receive signals or
phone, replicate the
                         the pattern drawn.           one locking        send signals to lock
   pattern drawn. If
                         If you fail to solve         mechanism          or unlock doors, to
you fail to solve the
                            the pattern too        configured to at           activate or
  pattern too many                                                                              X
                           many times, the       least one of engage     deactivate security
   times, the phone
                           phone locks and             (lock) the        systems, to activate
locks and cannot be
                        cannot be unlocked         communication         or deactivate multi-
  unlocked without
                           without logging        device, disengage        sensor detection
   logging into the
                         into the associated         (unlock) the           systems, or to
 associated Google
                           Google account.         communication              activate or
       account.
                                                  device, or disable      deactivate the cell
                           Google Nest ×         (make unavailable)        phone detection
Google Nest × Yale
                            Yale Lock is         the communication              device;
 Lock is connected
                          connected to the               device;
to the Nest app; you
                         Nest app; you can
 can lock or unlock
                        lock or unlock your
your door from your
                          door from your
       phone.
                              phone.



                         ASUS / Qualcomm
                           Smartphone for
 Pixel phones use                                at least one power
                        Snapdragon Insiders
USB-C with USB                                   source comprising
                          Dual Port 32GB
2.0 power adapters                                at least one of a
                             USB Type C
  and cables. To                                 battery, electrical
                           Memory Stick;
charge your phone                                  connection, or                 X             X
                        32GB USB Type-C
   with a USB-                                  wireless connection,
                        flash drive; Features
 A power adapter,                               to provide power to
                             USB Type-C
  use a USB-C to                                the communication
                           connector and a
   USB-A cable.                                        device;
                           traditional USB
                              connector.




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                                                                                                         wherein the
                                                                                                       communication
                                                                                                    device is equipped
                                                                                                       with a biometric
                                                                               wherein the cell       lock disabler that
  BIOMETRICS:               BIOMETRICS:
                                                                            phone is equipped      incorporates at least
 Biometric factors         Biometric factors
                                                                               with a biometric     one of a fingerprint
  allow for secure          allow for secure
                                                                              lock disabler that     recognition, voice
 authentication on         authentication on             at least one
                                                                           incorporates at least      recognition, face
    the Android               the Android            biometric sensor in
                                                                            one of a fingerprint     recognition, hand
   platform. The             platform. The          communication with
                                                                             recognition, voice        geometry, retina
Android framework         Android framework           the at least once
                                                                              recognition, face      scan, iris scan and
 includes face and         includes face and         CPU for providing
                                                                             recognition, hand      signature such that
     fingerprint               fingerprint                biometric
                                                                               geometry, retina     the communication
      biometric                 biometric             authentication to
                                                                             scan, iris scan, or       device that is at
   authentication.           authentication.              access the
                                                                            signature such that    least one of the cell
  Android can be            Android can be             communication
                                                                               the cell phone is      phone, the smart
   customized to             customized to                 device;
                                                                                 locked by the     phone, the desktop,
support other forms       support other forms
                                                                                biometric lock        the handheld, the
    of biometric              of biometric
                                                                            disabler to prevent     PDA, the laptop or
authentication (such      authentication (such
                                                                             unauthorized use;          the computer
       as Iris).                 as Iris).
                                                                                      and            terminal is locked
                                                                                                       by the biometric
                                                                                                       lock disabler to
                                                                                                           prevent
                                                                                                      unauthorized use


    Android Team              Android Team
   Awareness Kit,            Awareness Kit,
ATAK (built on the         ATAK (built on the
 Android operating         Android operating
                                                                                                   the communication
 system) provides a        system) provides a                              the cell phone is at
                                                                                                    device is at least a
 single interface for      single interface for                                least a fixed,
                                                                                                    fixed, portable or
     viewing and               viewing and                                 portable or mobile
                                                     at least one sensor                                 mobile
controlling different     controlling different                              communication
                                                        for chemical,                                communication
   CBRN-sensing              CBRN-sensing                                         device
                                                        biological, or                                    device
    technologies,             technologies,                                 interconnected to
                                                     human detection in                            interconnected to a
  whether that is a         whether that is a                                 the cell phone
                                                    communication with                              fixed, portable or
       wearable                  wearable                                   detection device,
                                                       the at least one                              mobile product,
   smartwatch that           smartwatch that                               capable of wired or
                                                            CPU;                                   capable of wired or
     measures a                measures a                                        wireless
                                                                                                         wireless
 warfighter’s vitals       warfighter’s vitals                               communication
                                                                                                     communication
(e.g., heart rate) or a   (e.g., heart rate) or a                          therebetween; and
                                                                                                     therebetween…
 device mounted on         device mounted on
  a drone to detect         a drone to detect
  chemical warfare          chemical warfare
        agents.                   agents




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    Android Team
                            Android Team
   Awareness Kit,
                            Awareness Kit,
ATAK (built on the
                         ATAK (built on the
 Android operating
                          Android operating
 system) is a digital
                         system) is a digital
      application
                              application
      available to
                              available to
      warfighters
                              warfighters                                   at least one of a
    throughout the
                            throughout the           one or more          chemical sensor, a          wherein the
DoD. ATAK offers
                         DoD. ATAK offers            detectors in        biological sensor, an     communication
      warfighters
                              warfighters       communication with        explosive sensor, a     device receives a
geospatial mapping
                         geospatial mapping     the at least one CPU        human sensor, a        signal via any of
     for situational
                             for situational    for detecting at least    contraband sensor,         one or more
  awareness during
                          awareness during        one of chemical,          or a radiological     products listed in
  combat — on an
                           combat — on an             biological,          sensor capable of     any of the plurality
   end-user device
                           end-user device         radiological, or          being disposed      of product grouping
        such as a
                                such as a         explosive agents;       within, on, upon or         categories;
   smartphone or a
                           smartphone or a                                  adjacent the cell
      tablet. With
                        tablet. With DTRA’s                                      phone;
        DTRA’s
                         contribution, ATAK
contribution, ATAK
                             now includes
     now includes
                               chemical,
       chemical,
                               biological,
       biological,
                          radiological, and
  radiological, and
                           nuclear (CBRN)
  nuclear (CBRN)
                                plug-ins.
        plug-ins.




                        Connectivity: Wi-Fi
                         802.11 a/b/g/n/ac/
 Connectivity: Wi-      6e, dual-band, Wi-
                                                  at least one radio-
Fi 5 (a/b/g/n/ac) 2.4    Fi Dir. Bluetooth:
                                                frequency near-field
     + 5.0 GHz,           5.2, A2DP, LE,
                                                   communication
Bluetooth 5.0 + LE,       aptX HD, aptX
                                                (NFC) connection in               X                       X
     NFC, GPS             Adaptive. NFC,
                                                communication with
    (GLONASS,            GPS, GLONASS,
                                                   the at least one
 Galileo, BeiDou),         BDS, Galileo,
                                                        CPU…
   eSIM capable          QZSS, Dual SIM
                         (Nano-SIM, dual
                             stand-by)




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                                                                                                    a transmitter for
                                                   at least one of a
                                                                                                  transmitting signals
                                                   transmitter or a
                                                                                                   and messages to at
                                                    transceiver in
                                                                                                 least one of plurality
                                                communication with
                                                                                                     product groups
                                                the at least one CPU
                                                                                                      based on the
                                                 configured to send
Google Nest × Yale      Google Nest × Yale                                                           categories of a
                                                signals to monitor at
 Lock is connected       Lock is connected                                                            multi-sensor
                                                 least one of a door,
to the Nest app; you    to the Nest app; you                                                       detection device, a
                                                    a vehicle, or a
 can lock or unlock      can lock or unlock                                                          maritime cargo
                                                    building, send
your door from your     your door from your                                                         container, a cell
                                                  signals to lock or        a transmitter for
       phone.                  phone.                                                               phone detection
                                                 unlock doors, send      transmitting signals
                                                                                                  device, or a locking
                                                  signals to control       and messages to a
   Android Team            Android Team                                                                  device;
                                                  components of a        cell phone detection
   Awareness Kit,          Awareness Kit,
                                                vehicle, send signals      device; a receiver
ATAK (built on the      ATAK (built on the                                                           a receiver for
                                                       to control        for receiving signals
 Android operating       Android operating                                                        receiving signals,
                                                  components of a         from the cell phone
 system) provides a      system) provides a                                                        data or messages
                                                    building, or…           detection device;
 single interface for    single interface for                                                    from at least one of
                                                detect at least one of
    viewing and             viewing and                                                            plurality product
                                                      a chemical
controlling different   controlling different                                                    groups based on the
                                                 biological… agent
   CBRN-sensing            CBRN-sensing                                                             categories of a
                                                     such that the
    technologies            technologies                                                             multi-sensor
                                                   communication
                                                                                                 detection device, a
                                                device is capable of
                                                                                                    maritime cargo
                                                   communicating,
                                                                                                   container, a cell
                                                     monitoring,
                                                                                                   phone detection
                                                    detecting, and
                                                                                                 device, or a locking
                                                      controlling.
                                                                                                        device;

                                                                                                     whereupon the
Google Nest × Yale      Google Nest × Yale
                                                                                                    communication
 Lock is connected       Lock is connected
                                                                                                       device, is
to the Nest app; you    to the Nest app; you
                                                                                                  interconnected to a
 can lock or unlock      can lock or unlock
                                                                                                 product equipped to
your door from your     your door from your
                                                                                                 receive signals from
       phone.                  phone.
                                                                                                   or send signals to
                                                                                                     lock or unlock
   Android Team            Android Team
                                                                                                   doors, activate or
   Awareness Kit,          Awareness Kit,                 X                       X
                                                                                                  deactivate security
ATAK (built on the      ATAK (built on the
                                                                                                 systems, activate or
 Android operating       Android operating
                                                                                                   deactivate multi-
 system) provides a      system) provides a
                                                                                                    sensor detection
 single interface for    single interface for
                                                                                                     systems, or to
    viewing and             viewing and
                                                                                                       activate or
controlling different   controlling different
                                                                                                     deactivate cell
   CBRN-sensing            CBRN-sensing
                                                                                                    phone detection
    technologies            technologies
                                                                                                        systems




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    Android Team
                            Android Team
   Awareness Kit,
                            Awareness Kit,
ATAK (built on the
                         ATAK (built on the                                  wherein at least one
 Android operating
                          Android operating                                  satellite connection,
 system) is a digital
                         system) is a digital                                      Bluetooth
      application
                              application                                      connection, WiFi
      available to
                              available to                                   connection, internet
      warfighters
                              warfighters                                      connection, radio
    throughout the
                            throughout the                                      frequency (RF)
DoD. ATAK offers
                         DoD. ATAK offers               a transmitter for    connection, cellular
      warfighters
                              warfighters            transmitting signals         connection,
geospatial mapping
                         geospatial mapping            and messages to a           broadband
     for situational
                             for situational         cell phone detection    connection… short
  awareness during                              X
                          awareness during             device; a receiver         range radio
  combat — on an
                           combat — on an            for receiving signals      frequency (RF)
   end-user device
                           end-user device            from the cell phone        connection is
        such as a
                                such as a               detection device;      capable of signal
   smartphone or a
                           smartphone or a                                   communication with
      tablet. With
                        tablet. With DTRA’s                                   the transmitter and
        DTRA’s
                         contribution, ATAK                                   the receiver of the
contribution, ATAK
                             now includes                                       communication
     now includes
                               chemical,                                           device and
       chemical,
                               biological,                                    transceivers of the
       biological,
                          radiological, and                                         products;
  radiological, and
                           nuclear (CBRN)
  nuclear (CBRN)
                                plug-ins.
        plug-ins.
    Android Team            Android Team
   Awareness Kit,          Awareness Kit,
ATAK (built on the      ATAK (built on the
 Android operating       Android operating
 system) is a digital    system) is a digital         whereupon a signal
      application             application             sent to the receiver
      available to            available to              of the cell phone
      warfighters             warfighters               detection device
    throughout the          throughout the            from at least one of
DoD. ATAK offers        DoD. ATAK offers             the chemical sensor,
      warfighters             warfighters                 the biological
geospatial mapping      geospatial mapping                  sensor, the
     for situational         for situational            explosive sensor,
  awareness during        awareness during      X      the human sensor,              X
  combat — on an          combat — on an                 the contraband
   end-user device         end-user device                sensor, or the
        such as a               such as a             radiological sensor,
   smartphone or a         smartphone or a            causes a signal that
      tablet. With            tablet. With           includes at least one
        DTRA’s                  DTRA’s                 of location data or
contribution, ATAK      contribution, ATAK              sensor data to be
     now includes            now includes                sent to the cell
       chemical,               chemical,                      phone.
       biological,             biological,
  radiological, and       radiological, and
  nuclear (CBRN)          nuclear (CBRN)
        plug-ins.               plug-ins.


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                    Exhibit H




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                 PLAINTIFF’S ILLUSTRATIVE CLAIM CHART
                       FOR PATENT INFRINGEMENT

        Below, is an illustrative claim chart of how the Samsung Galaxy Book2 Pro 360 PC /
Tablet directly infringes claim 5 of Plaintiff’s ‘287 patent, and claim 1 of Plaintiff’s ‘189 patent.
        Also, the chart illustrates how Intel® Core™ i5-1235U / Intel® Core™ i7-1255U CPU
contributes to the infringement of the Samsung Galaxy Book2 Pro 360 PC / Tablet, and has “no
substantial non-infringing use”. Plaintiff’s CPU is referenced in 12 limitations of claim 5 of
Plaintiff’s ‘287 patent. Every claim limitation is covered.


                                                             Patent #:
        Samsung Galaxy Book2 Pro 360                                                   Patent #: 9,096,189;
                                                         10,163,287; Indep.
          [PC Mode or Tablet Mode]                                                    Independent Claim 1
                                                              Claim 5




                                                                                   A communication device of at
                                                                                  least one of a cell phone, a smart
                                                                                   phone, a desktop, a handheld, a
                                                         A monitoring device,       PDA, a laptop, or a computer
                                                            comprising:                terminal for monitoring
                                                                                    products, interconnected to a
                                                                                     product for communication
                                                                                     therebetween, comprising:

   This “doctrine of equivalent” element performs
 substantially the same function; in substantially the
   same way; and, produces substantially the same
   result, as the element as expressed in the claim.


 CPU: Intel® Core™ i5-1235U / Intel® Core™ i7-
 1255U. Processor Speed 1.3GHz / 1.7 GHz. Clock
  900 - 4400 MHz / 1200 - 4700 MHz. L1 Cache                                            at least one of a central
 928 KB / 928 KB. Cores 10 / 10. Threads 12 / 12.                                      processing unit (CPU) for
 Preinstalled Operating System Windows 11 Home                                     executing and carrying out the
                                                                                      instructions of a computer
   This “doctrine of equivalent” element performs          at least one central     program, a network processor
 substantially the same function; in substantially the   processing unit (CPU);    which is specifically targeted at
   same way; and, produces substantially the same                                     the networking application
  result, as the element as expressed in the claims.                              domain, or a front-end processor
                                                                                    for communication between a
  Contributory infringement: This CPU element,                                    host computer and other devices;
  provided by Intel, is a material component of the
    allegedly infringing Galaxy Book2 Pro 360



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Technical Specifications: CPU Temperature Sensor
  reached 99° C. Surface temperature: W,A,S,D
Keys - 42.1 °C, Keyboard Middle - 44.1 °C, Palm
                  Rest - 37.0 °C
                                                        at least one temperature
                                                                 sensor in
   Literal Infringement: When there is a direct
                                                          communication with
 correspondence between the words in the patent                                                    X
                                                        the at least one CPU for
  claims and the infringing product or device or
                                                               monitoring
                   technology.
                                                              temperature;
 Contributory infringement: This CPU element,
 provided by Intel, is a material component of the
    allegedly infringing Galaxy Book2 Pro 360

  With the infrared sensor the device can detect
  motion by measuring the infrared (IR) light
   radiating from objects in its field of view

   Literal Infringement: When there is a direct           at least one motion
 correspondence between the words in the patent                 sensor in
                                                                                                   X
  claims and the infringing product or device or         communication with
                   technology.                           the at least one CPU;

 Contributory infringement: This CPU element,
 provided by Intel, is a material component of the
    allegedly infringing Galaxy Book2 Pro 360

 Available in two screen sizes (13.3” and 15.6”).
   Plus, the screen automatically adapts to any
  lighting environment, so it’s easy on the eyes,
         thanks to a 1MM:1 contrast ratio
                                                           at least one viewing
   Literal Infringement: When there is a direct
                                                        screen for monitoring in
 correspondence between the words in the patent                                                    X
                                                          communication with
  claims and the infringing product or device or
                                                          the at least one CPU;
                   technology.

 Contributory infringement: This CPU element,
 provided by Intel, is a material component of the
    allegedly infringing Galaxy Book2 Pro 360

  GPS: If you turn on satellite-based GPS, your
  tablet can find your exact position. Microsoft
Windows 11 has added a location services feature
 that uses IP addresses and Wi-Fi positioning to                                    at least one satellite connection,
               predict your location.                                                 Bluetooth connection, WiFi
                                                           at least one global
                                                                                    connection, internet connection,
                                                           positioning system
  This “doctrine of equivalent” element performs                                          radio frequency (RF)
                                                          (GPS) connection in
substantially the same function; in substantially the                               connection, cellular connection,
                                                         communication with
  same way; and, produces substantially the same                                    broadband connection, long and
                                                         the at least one CPU;
  result, as the element as expressed in the claim.                                short-range radio frequency (RF)
                                                                                    connection, or GPS connection;
 Contributory infringement: This CPU element,
 provided by Intel, is a material component of the
    allegedly infringing Galaxy Book2 Pro 360


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    High speed internet and Microsoft account
 required for Windows 11 Home and Windows 11
Pro. Networking: 802.11ax (Wi-Fi 6E), Bluetooth
                                                                                 wherein the only type or types of
              Standard: Bluetooth 5.0
                                                                                     communication with the
                                                         at least one of an
                                                                                  transmitter and the receiver of
   Literal Infringement: When there is a direct      internet connection or a
                                                                                  the communication device and
 correspondence between the words in the patent        Wi-Fi connection in
                                                                                 transceivers of the products is a
  claims and the infringing product or device or       communication with
                                                                                  type or types selected from the
                   technology.                        the at least one CPU;
                                                                                  group… of satellite, Bluetooth,
                                                                                              WiFi…
Contributory infringement: This CPU element,
provided by Intel, is a material component of the
   allegedly infringing Galaxy Book2 Pro 360


 Networking: Bluetooth Standard: Bluetooth 5.0.
             802.11ax (Wi-Fi 6E),
                                                         at least one of a
   Literal Infringement: When there is a direct
                                                     Bluetooth connection, a
 correspondence between the words in the patent
                                                     cellular connection, or a
  claims and the infringing product or device or                                                X
                                                      satellite connection in
                   technology.
                                                       communication with
                                                      the at least one CPU;
Contributory infringement: This CPU element,
provided by Intel, is a material component of the
   allegedly infringing Galaxy Book2 Pro 360



Galaxy Book2 Pro 360 Specs: The Galaxy Book2
Pro keyboard has an NFC connection spot. Tapped
                                                        at least one locking
  the Galaxy phone on the spot to make contact;
                                                           mechanism in
 then used the Samsung Flow phone software to
                                                       communication with
   lock and unlock the tablet using the phone’s
                                                     the at least one CPU for
               fingerprint scanner.
                                                             locking the
                                                      communication device,
  Windows Hello face authentication utilizes a
                                                      the at least one locking
camera specially configured for near infrared (IR)
                                                      mechanism configured
      imaging to authenticate and unlock.                                                       X
                                                     to at least one of engage
                                                              (lock) the
   Literal Infringement: When there is a direct
                                                      communication device,
 correspondence between the words in the patent
                                                      disengage (unlock) the
  claims and the infringing product or device or
                                                      communication device,
                   technology.
                                                         or disable (make
                                                          unavailable) the
Contributory infringement: This CPU element,
                                                      communication device;
provided by Intel, is a material component of the
   allegedly infringing Galaxy Book2 Pro 360




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Samsung’s Super-Fast Charging-enabled 65W AC
  adapter in the box. It can deliver “8 hours” of
 battery life in just 30 minutes of charging. The
Galaxy Book2 Pro 360 averaged around 10 hours
           30 minutes on a full charge.
                                                           at least one power
                                                          source comprising at
   Literal Infringement: When there is a direct
                                                         least one of a battery,
 correspondence between the words in the patent
                                                        electrical connection, or                   X
  claims and the infringing product or device or
                                                         wireless connection, to
                   technology.
                                                          provide power to the
                                                        communication device;
 Contributory infringement: The CPU element,
provided by Intel, is a material component of the
allegedly infringing Galaxy Book2 Pro 360 and is
    capable of carrying out the functional and
        operational instructions of the PC.


                                                                                        wherein the communication
Samsung’s Biometric Sensors. Fingerprint Reader.                                         device is equipped with a
  Windows Hello face authentication utilizes a                                          biometric lock disabler that
camera specially configured for near infrared (IR)                                     incorporates at least one of a
                                                         at least one biometric
      imaging to authenticate and unlock.                                              fingerprint recognition, voice
                                                                sensor in
                                                                                       recognition, face recognition,
                                                          communication with
   Literal Infringement: When there is a direct                                      hand geometry, retina scan, iris
                                                         the at least once CPU
 correspondence between the words in the patent                                      scan and signature such that the
                                                        for providing biometric
  claims and the infringing product or device or                                    communication device that is at
                                                        authentication to access
                   technology.                                                        least one of the cell phone, the
                                                           the communication
                                                                                       smart phone, the desktop, the
                                                                 device;
 Contributory infringement: This CPU element,                                       handheld, the PDA, the laptop or
 provided by Intel, is a material component of the                                   the computer terminal is locked
    allegedly infringing Galaxy Book2 Pro 360                                       by the biometric lock disabler to
                                                                                         prevent unauthorized use

 Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
  compatible with the Galaxy Book2 Pro 360

  This “doctrine of equivalent” element performs
substantially the same function; in substantially the
  same way; and, produces substantially the same                                     the communication device is at
  result, as the element as expressed in the claim.      at least one sensor for    least a fixed, portable or mobile
                                                        chemical, biological, or          communication device
 Contributory infringement: This CPU element,              human detection in           interconnected to a fixed,
 provided by Intel, is a material component of the        communication with           portable or mobile product,
    allegedly infringing Galaxy Book2 Pro 360            the at least one CPU;         capable of wired or wireless
                                                                                    communication therebetween…
     Induced infringement: requires not ‘only
    knowledge of the patent’ but also ‘proof the
      defendant knew the [induced] acts were
  infringing.’” DSU Med. Corp. v. JMS Co., 471
F.3d 1293, 1305 (Fed. Cir. 2006) Notice to Appear
 sent to Samsung in Golden v. USA Case 13-307C



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 Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
  compatible with the Galaxy Book2 Pro 360

  This “doctrine of equivalent” element performs
substantially the same function; in substantially the
                                                        one or more detectors in
  same way; and, produces substantially the same
                                                          communication with          wherein the communication
  result, as the element as expressed in the claim.
                                                        the at least one CPU for    device receives a signal via any
                                                        detecting at least one of   of one or more products listed in
 Contributory infringement: This CPU element,
                                                          chemical, biological,      any of the plurality of product
 provided by Intel, is a material component of the
                                                             radiological, or             grouping categories;
    allegedly infringing Galaxy Book2 Pro 360
                                                            explosive agents;
     Induced infringement: requires not ‘only
    knowledge of the patent’ but also ‘proof the
      defendant knew the [induced] acts were
  infringing.’” DSU Med. Corp. v. JMS Co., 471
F.3d 1293, 1305 (Fed. Cir. 2006) Notice to Appear
 sent to Samsung in Golden v. USA Case 13-307C

The Galaxy Book2 Pro keyboard has a Near Field
Communications (NFC) connection spot. Briefly
  tapped the Galaxy phone on the spot to make
                    contact
                                                           at least one radio-
                                                         frequency near-field
   Literal Infringement: When there is a direct
                                                        communication (NFC)
 correspondence between the words in the patent
                                                             connection in                         X
  claims and the infringing product or device or
                                                         communication with
                   technology.
                                                        the at least one CPU…
 Contributory infringement: This CPU element,
 provided by Intel, is a material component of the
    allegedly infringing Galaxy Book2 Pro 360

 Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals               at least one of a        a transmitter for transmitting
  compatible with the Galaxy Book2 Pro 360                   transmitter or a       signals and messages to at least
                                                              transceiver in        one of plurality product groups
   Literal Infringement: When there is a direct           communication with          based on the categories of a
 correspondence between the words in the patent           the at least one CPU      multi-sensor detection device, a
  claims and the infringing product or device or           configured to send       maritime cargo container, a cell
                   technology.                            signals to monitor at       phone detection device, or a
                                                          least one of a door, a             locking device;
 Contributory infringement: This CPU element,           vehicle, or a building…
 provided by Intel, is a material component of the      or… detect at least one     a receiver for receiving signals,
    allegedly infringing Galaxy Book2 Pro 360                 of a chemical          data or messages from at least
                                                        biological… agent such      one of plurality product groups
     Induced infringement: requires not ‘only           that the communication        based on the categories of a
    knowledge of the patent’ but also ‘proof the           device is capable of     multi-sensor detection device, a
      defendant knew the [induced] acts were                communicating,          maritime cargo container, a cell
  infringing.’” DSU Med. Corp. v. JMS Co., 471           monitoring, detecting,       phone detection device, or a
F.3d 1293, 1305 (Fed. Cir. 2006). Notice to Appear           and controlling.                locking device;
 sent to Samsung in Golden v. USA Case 13-307C



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 The Galaxy Book2 Pro keyboard has a Near Field
  Communications (NFC) connection spot. Briefly
    tapped the Galaxy phone on the spot to make
     contact; then used the Samsung Flow phone
 software to lock and unlock the Galaxy Book2 Pro
  tablet using the phone’s fingerprint scanner from                              whereupon the communication
                   across the room.                                               device, is interconnected to a
                                                                                   product equipped to receive
  Intel’s Loihi Neuromorphic Chip to Learn and                                   signals from or send signals to
 Recognize the Scents of 10 Hazardous Chemicals                                 lock or unlock doors, activate or
                                                               X
   compatible with the Galaxy Book2 Pro 360                                        deactivate security systems,
                                                                                  activate or deactivate multi-
   This “doctrine of equivalent” element performs                                sensor detection systems, or to
 substantially the same function; in substantially the                          activate or deactivate cell phone
   same way; and, produces substantially the same                                       detection systems
   result, as the element as expressed in the claim.

  Contributory infringement: This CPU element,
  provided by Intel, is a material component of the
     allegedly infringing Galaxy Book2 Pro 360

    High speed internet and Microsoft account                                     wherein at least one satellite
 required for Windows 11 Home and Windows 11                                         connection, Bluetooth
 Pro. Networking: 802.11ax (Wi-Fi 6E), Bluetooth                                 connection, WiFi connection,
              Standard: Bluetooth 5.0                                              internet connection, radio
                                                                                  frequency (RF) connection,
    Literal Infringement: When there is a direct                                cellular connection, broadband
  correspondence between the words in the patent               X                connection… short range radio
   claims and the infringing product or device or                                frequency (RF) connection is
                    technology.                                                capable of signal communication
                                                                                  with the transmitter and the
  Contributory infringement: This CPU element,                                  receiver of the communication
  provided by Intel, is a material component of the                              device and transceivers of the
     allegedly infringing Galaxy Book2 Pro 360                                              products;


Intel contributed to the infringement of Plaintiff’s patented new and improved upon PC

 Intel’s Loihi Neuromorphic Chip to Learn and
 Recognize the Scents of 10 Hazardous Chemicals.
 Below: Intel Labs’ Nabil Imam holds a Loihi neuro-
 morphic chip in his Santa Clara, California, neuro-
 morphic computing lab. (Walden Kirsch/Intel Corp)


 Intel and Cornell trained Intel’s Loihi neuromorphic
 chip to learn and recognize the scents of 10 hazardous
 chemicals … the activity of 72 chemical sensors in
 response to these smells and configured the circuit
 diagram of biological olfaction on Loihi. The chip
 quickly learned the neural representation of each of
 the smells and each odor.                                         Intel’s Loihi 2 Neuromorphic Chip



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                     Exhibit I




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                 PLAINTIFF’S ILLUSTRATIVE CLAIM CHART
                       FOR PATENT INFRINGEMENT

        Below, is an illustrative claim chart of how the HP ZBook PC directly infringes claim 5
of Plaintiff’s ‘287 patent, and claim 1 of Plaintiff’s ‘189 patent.
        Also, the chart illustrates how Intel’s 11th Generation Intel® Xeon® W-11955M vPro®
CPU contributes to the infringement of the HP ZBook PC, and has “no substantial non-infringing
use”. Plaintiff’s CPU is referenced in 12 limitations of claim 5 of Plaintiff’s ‘287 patent. Every
claim limitation is covered.


                                                             Patent #:
     HP ZBook Fury 15.6 Inch G8 Mobile                                                 Patent #: 9,096,189;
                                                         10,163,287; Indep.
             Workstation PC                                                           Independent Claim 1
                                                              Claim 5




                                                                                   A communication device of at
                                                                                  least one of a cell phone, a smart
                                                                                   phone, a desktop, a handheld, a
                                                         A monitoring device,       PDA, a laptop, or a computer
                                                            comprising:                terminal for monitoring
                                                                                    products, interconnected to a
                                                                                     product for communication
                                                                                     therebetween, comprising:
   This “doctrine of equivalent” element performs
 substantially the same function; in substantially the
   same way; and, produces substantially the same
   result, as the element as expressed in the claim.


  CPU: 11th Generation Intel® Xeon® W-11955M
  vPro® with Intel® UHD Graphics (2.6 GHz base
 frequency, up to 5.0 GHz with Intel® Turbo Boost                                       at least one of a central
   Technology, 24 MB cache, 8 cores; 16 threads).                                      processing unit (CPU) for
  Preinstalled operating system - Windows 11 Pro2                                  executing and carrying out the
                                                                                      instructions of a computer
   This “doctrine of equivalent” element performs          at least one central     program, a network processor
 substantially the same function; in substantially the   processing unit (CPU);    which is specifically targeted at
   same way; and, produces substantially the same                                     the networking application
  result, as the element as expressed in the claims.                              domain, or a front-end processor
                                                                                    for communication between a
  Contributory infringement: This CPU element,                                    host computer and other devices;
  provided by Intel, is a material component of the
        allegedly infringing HP ZBook PC



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 Technical Specifications Temperature Sensor—
   Operating is 14° to 158° F (-10° to 70° C).
                                                    at least one temperature
   Literal Infringement: When there is a direct
                                                             sensor in
 correspondence between the words in the patent
                                                      communication with
  claims and the infringing product or device or                                               X
                                                    the at least one CPU for
                   technology.
                                                           monitoring
                                                          temperature;
Contributory infringement: This CPU element,
provided by Intel, is a material component of the
      allegedly infringing HP ZBook PC


HP CoolSense Technology uses a motion sensor to
   sense when the computer is being used in a
          stationary or mobile setting

   Literal Infringement: When there is a direct       at least one motion
 correspondence between the words in the patent             sensor in
                                                                                               X
  claims and the infringing product or device or     communication with
                   technology.                       the at least one CPU;

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
      allegedly infringing HP ZBook PC


15.6” diagonal UHD (3840 x 2160) IPS eDP1.4 +
PSR2 WLED-backlit touch screen with Corning®
                Gorilla® Glass 5

   Literal Infringement: When there is a direct        at least one viewing
 correspondence between the words in the patent     screen for monitoring in
                                                                                               X
  claims and the infringing product or device or      communication with
                   technology.                        the at least one CPU;

Contributory infringement: This CPU element,
provided by Intel, is a material component of the
      allegedly infringing HP ZBook PC


 GPS: Standalone, A-GPS (MS-A, MS-B). GPS
 Bands: 1575.42 MHz ± 1.023 MHz, GLONASS
    1596-1607MHz, Beidou 1561.098 MHz                                           at least one satellite connection,
                                                                                  Bluetooth connection, WiFi
                                                       at least one global
   Literal Infringement: When there is a direct                                 connection, internet connection,
                                                       positioning system
 correspondence between the words in the patent                                       radio frequency (RF)
                                                      (GPS) connection in
  claims and the infringing product or device or                                connection, cellular connection,
                                                     communication with
                   technology.                                                  broadband connection, long and
                                                     the at least one CPU;
                                                                               short-range radio frequency (RF)
Contributory infringement: This CPU element,                                    connection, or GPS connection;
provided by Intel, is a material component of the
      allegedly infringing HP ZBook PC




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    High speed internet and Microsoft account
required for Windows 11 Pro and Windows 11 Pro
                   for Business                                                  wherein the only type or types of
                                                                                     communication with the
                                                         at least one of an
   Literal Infringement: When there is a direct                                   transmitter and the receiver of
                                                     internet connection or a
 correspondence between the words in the patent                                   the communication device and
                                                       Wi-Fi connection in
  claims and the infringing product or device or                                 transceivers of the products is a
                                                       communication with
                   technology.                                                    type or types selected from the
                                                      the at least one CPU;
                                                                                  group… of satellite, Bluetooth,
Contributory infringement: This CPU element,                                                  WiFi…
provided by Intel, is a material component of the
      allegedly infringing HP ZBook PC



    WLAN: Intel® Wi-Fi 6 AX201 (2x2) and
     Bluetooth® 5.2 wireless card, vPro™
                                                         at least one of a
   Literal Infringement: When there is a direct
                                                     Bluetooth connection, a
 correspondence between the words in the patent
                                                     cellular connection, or a
  claims and the infringing product or device or                                                X
                                                      satellite connection in
                   technology.
                                                       communication with
                                                      the at least one CPU;
Contributory infringement: This CPU element,
provided by Intel, is a material component of the
      allegedly infringing HP ZBook PC



                                                        at least one locking
                                                           mechanism in
   HP ZBook PC Specs: HP Tamper Lock. Nano
                                                       communication with
Security Lock. Windows Hello face authentication
                                                     the at least one CPU for
   utilizes a camera specially configured for near
                                                             locking the
 infrared (IR) imaging to authenticate and unlock.
                                                      communication device,
                                                      the at least one locking
   Literal Infringement: When there is a direct
                                                      mechanism configured
 correspondence between the words in the patent                                                 X
                                                     to at least one of engage
  claims and the infringing product or device or
                                                              (lock) the
                   technology.
                                                      communication device,
                                                      disengage (unlock) the
Contributory infringement: This CPU element,
                                                      communication device,
provided by Intel, is a material component of the
                                                         or disable (make
      allegedly infringing HP ZBook PC
                                                          unavailable) the
                                                      communication device;




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HP chipset requires a Windows operating system,
network hardware and software, connection with a
   power source, and a direct corporate network
connection which is either cable or wireless LAN.
                                                           at least one power
   Literal Infringement: When there is a direct           source comprising at
 correspondence between the words in the patent          least one of a battery,
  claims and the infringing product or device or        electrical connection, or                   X
                   technology.                           wireless connection, to
                                                          provide power to the
 Contributory infringement: The CPU element,            communication device;
provided by Intel, is a material component of the
allegedly infringing HP ZBook PC and is capable
  of carrying out the functional and operational
              instructions of the PC.

                                                                                        wherein the communication
   HP Fingerprint Sensor. Windows Hello face                                             device is equipped with a
    authentication utilizes a camera specially                                          biometric lock disabler that
   configured for near infrared (IR) imaging to                                        incorporates at least one of a
                                                         at least one biometric
            authenticate and unlock.                                                   fingerprint recognition, voice
                                                                sensor in
                                                                                       recognition, face recognition,
                                                          communication with
   Literal Infringement: When there is a direct                                      hand geometry, retina scan, iris
                                                         the at least once CPU
 correspondence between the words in the patent                                      scan and signature such that the
                                                        for providing biometric
  claims and the infringing product or device or                                    communication device that is at
                                                        authentication to access
                   technology.                                                        least one of the cell phone, the
                                                           the communication
                                                                                       smart phone, the desktop, the
                                                                 device;
 Contributory infringement: This CPU element,                                       handheld, the PDA, the laptop or
 provided by Intel, is a material component of the                                   the computer terminal is locked
       allegedly infringing HP ZBook PC                                             by the biometric lock disabler to
                                                                                         prevent unauthorized use

 Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
       compatible with the HP ZBook PC

  This “doctrine of equivalent” element performs
substantially the same function; in substantially the
                                                                                     the communication device is at
  same way; and, produces substantially the same
                                                         at least one sensor for    least a fixed, portable or mobile
  result, as the element as expressed in the claim.
                                                        chemical, biological, or          communication device
                                                           human detection in           interconnected to a fixed,
 Contributory infringement: This CPU element,
                                                          communication with           portable or mobile product,
 provided by Intel, is a material component of the
                                                         the at least one CPU;         capable of wired or wireless
       allegedly infringing HP ZBook PC
                                                                                    communication therebetween…
     Induced infringement: requires not ‘only
    knowledge of the patent’ but also ‘proof the
      defendant knew the [induced] acts were
  infringing.’” DSU Med. Corp. v. JMS Co., 471
         F.3d 1293, 1305 (Fed. Cir. 2006)




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 Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals
       compatible with the HP ZBook PC

  This “doctrine of equivalent” element performs
substantially the same function; in substantially the   one or more detectors in
  same way; and, produces substantially the same          communication with          wherein the communication
  result, as the element as expressed in the claim.     the at least one CPU for    device receives a signal via any
                                                        detecting at least one of   of one or more products listed in
 Contributory infringement: This CPU element,             chemical, biological,      any of the plurality of product
 provided by Intel, is a material component of the           radiological, or             grouping categories;
       allegedly infringing HP ZBook PC                     explosive agents;

     Induced infringement: requires not ‘only
    knowledge of the patent’ but also ‘proof the
      defendant knew the [induced] acts were
  infringing.’” DSU Med. Corp. v. JMS Co., 471
         F.3d 1293, 1305 (Fed. Cir. 2006)


 Near Field Communication (NFC) module. NFC
         RF standards ISO/IEC 14443 A
                                                           at least one radio-
   Literal Infringement: When there is a direct
                                                         frequency near-field
 correspondence between the words in the patent
                                                        communication (NFC)
  claims and the infringing product or device or
                                                             connection in                         X
                   technology.
                                                         communication with
                                                        the at least one CPU…
 Contributory infringement: This CPU element,
 provided by Intel, is a material component of the
       allegedly infringing HP ZBook PC


 Intel’s Loihi Neuromorphic Chip to Learn and
Recognize the Scents of 10 Hazardous Chemicals               at least one of a        a transmitter for transmitting
       compatible with the HP ZBook PC                       transmitter or a       signals and messages to at least
                                                              transceiver in        one of plurality product groups
   Literal Infringement: When there is a direct           communication with          based on the categories of a
 correspondence between the words in the patent           the at least one CPU      multi-sensor detection device, a
                                                           configured to send       maritime cargo container, a cell
  claims and the infringing product or device or
                   technology.                            signals to monitor at       phone detection device, or a
                                                          least one of a door, a             locking device;
                                                        vehicle, or a building…
 Contributory infringement: This CPU element,
 provided by Intel, is a material component of the      or… detect at least one     a receiver for receiving signals,
       allegedly infringing HP ZBook PC                       of a chemical          data or messages from at least
                                                        biological… agent such      one of plurality product groups
                                                        that the communication        based on the categories of a
     Induced infringement: requires not ‘only
                                                           device is capable of     multi-sensor detection device, a
    knowledge of the patent’ but also ‘proof the            communicating,          maritime cargo container, a cell
      defendant knew the [induced] acts were             monitoring, detecting,       phone detection device, or a
  infringing.’” DSU Med. Corp. v. JMS Co., 471
                                                             and controlling.                locking device;
         F.3d 1293, 1305 (Fed. Cir. 2006)




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   HP ZBook PC Specs: HP Tamper Lock. Nano
               Security Lock.
                                                                                 whereupon the communication
  Intel’s Loihi Neuromorphic Chip to Learn and
                                                                                  device, is interconnected to a
 Recognize the Scents of 10 Hazardous Chemicals
                                                                                   product equipped to receive
        compatible with the HP ZBook PC
                                                                                 signals from or send signals to
                                                                                lock or unlock doors, activate or
   This “doctrine of equivalent” element performs              X
                                                                                   deactivate security systems,
 substantially the same function; in substantially the
                                                                                  activate or deactivate multi-
   same way; and, produces substantially the same
                                                                                 sensor detection systems, or to
   result, as the element as expressed in the claim.
                                                                                activate or deactivate cell phone
                                                                                        detection systems
  Contributory infringement: This CPU element,
  provided by Intel, is a material component of the
        allegedly infringing HP ZBook PC


     High speed internet and Microsoft account
                                                                                  wherein at least one satellite
 required for Windows 11 Pro and Windows 11 Pro
                                                                                     connection, Bluetooth
 for Business. WLAN: Intel® Wi-Fi 6 AX201 (2x2)
                                                                                 connection, WiFi connection,
      and Bluetooth® 5.2 wireless card, vPro™
                                                                                   internet connection, radio
                                                                                  frequency (RF) connection,
    Literal Infringement: When there is a direct
                                                                                cellular connection, broadband
  correspondence between the words in the patent
                                                               X                connection… short range radio
   claims and the infringing product or device or
                                                                                 frequency (RF) connection is
                    technology.
                                                                               capable of signal communication
                                                                                  with the transmitter and the
  Contributory infringement: This CPU element,
                                                                                receiver of the communication
  provided by Intel, is a material component of the
                                                                                 device and transceivers of the
        allegedly infringing HP ZBook PC
                                                                                            products;




Intel contributed to the infringement of Plaintiff’s patented new and improved upon PC


 Intel’s Loihi Neuromorphic Chip to Learn and
 Recognize the Scents of 10 Hazardous Chemicals.
 Below: Intel Labs’ Nabil Imam holds a Loihi neuro-
 morphic chip in his Santa Clara, California, neuro-
 morphic computing lab. (Walden Kirsch/Intel Corp)


 Intel and Cornell trained Intel’s Loihi neuromorphic
 chip to learn and recognize the scents of 10 hazardous
 chemicals … the activity of 72 chemical sensors in
 response to these smells and configured the circuit
 diagram of biological olfaction on Loihi. The chip
 quickly learned the neural representation of each of
 the smells and each odor, demonstrating a future for
 neuroscience and AI.                                              Intel’s Loihi 2 Neuromorphic Chip



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                                    Sincerely,



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                                    (M) 8649927104
                                    Email: atpg-tech@charter.net




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                         CERTIFICATE OF SERVICE


      The undersigned hereby certifies that on this 19th day of June, 2023, a true
and correct copy of the foregoing “Plaintiff’s Motion for Summary Judgement”,
was served upon the following Defendant via email and by priority “express” mail:


                                 Grant D. Johnson
                                  Trial Attorney
                          Commercial Litigation Branch
                                  Civil Division
                              Department of Justice
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